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     and on behalf of the Estate of Brian Lilly, Jr.
10
11                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA
12
13 BRIAN LILLY, SR., and BRENDA LILLY,
     individually, and on behalf of the Estate of      Case No.: '21CV1703 TWR MSB
14 Brian Lilly, Jr.,
                                                       COMPLAINT FOR DAMAGES AND
15                            Plaintiffs,              INJUNCTIVE RELIEF FOR:
                                                          1) Violation of Title IX (Retaliation);
16           v.                                           2) Violation of Fourteenth Amendment
                                                             for Denial of Equal Protection under
17 UNIVERSITY OF CALIFORNIA-SAN                              42 U.S.C. §1983;
     DIEGO, BOARD OF REGENTS OF                           3) Violation of Fourteenth Amendment
18 UNIVERSITY OF CALIFORNIA, GEOFF                           for Deprivation of Substantive Due
     BOND, KATIE MCGANN, and EARL W.                         Process under 42 U.S.C. §1983;
19 EDWARDS                                                4) Wrongful Death (C.C.P. §377.30);
                                                          5) Negligent Hiring; and
20                            Defendants.                 6) Negligent Supervision
21
22
                                                          JURY TRIAL DEMAND
23
24                                            INTRODUCTION
25           Plaintiffs BRIAN LILLY, Sr. and BRENDA LILLY, (collectively referred to herein as
26 “Plaintiffs”), individually, and on behalf of the Estate of Brian Lilly, Jr. (“Decedent”), bring this
27 action for (i) retaliation in violation of Title IX of the Educational Amendments of 1972;
28 (ii) violation of equal protection in violation of 42 U.S.C. Section 1983; (iii) deprivation of

     Draft for Settlement Purposes Only                                                        Complaint
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 1 substantive due process in violation of 42 U.S.C. § 1983; (iv) wrongful death; (v) negligent hiring,
 2 and (vi) negligent supervision.
 3               This matter concerns the wrongful death of Decedent caused directly by the bullying,

 4 harassment and psychological torment perpetrated by the abusive rowing coaches employed by the
 5 University of California San Diego (“UCSD”) Men’s Rowing Team. Head Coach Geoff Bond
 6 (“Bond”) subjected his student athletes to abusive and offensive conduct, as his supervisors, Katie
 7 McGann (“McGann”) and Earl Edwards (“Edwards”), ignored and enabled the illegal behavior.
 8 Bond tormented multiple athletes on the men’s rowing team, but was particularly abusive toward
 9 Decedent, a freshman who challenged Bond’s failure to report multiple sexual misconduct
10 allegations lodged against another freshman rower, Z.B.1
11              Bond was a ‘Responsible Employee’ under the school’s Title IX policy, required to

12 immediately report any sexual misconduct allegations to UCSD. Decedent questioned his coach’s
13 failure to abide by the policy. In response, Bond subjected Decedent to repeated verbal abuse and
14 hostility, including personal insults, overly arduous workouts to the point of inducing vomiting, and
15 an inexplicable demotion from one of the varsity boats to the noncompetitive (fourth) boat despite
16 Decedent’s earning a spot in the top-3, competitive boats.
17              The head coach sought to silence Decedent, and other concerned members of the rowing

18 team. Defendants’ conduct caused a deterioration of Decedent’s mental health, including despair,
19 paranoia, and confusion. Decedent experienced mental illness, warranting hospitalization, for the
20 first time in his life. The in-patient treatment helped Decedent cope temporarily but, upon returning
21 to UCSD and being again subject to the coaches’ behavior, Decedent tragically took his own life on
22 January 4, 2021.
23              This horrific tragedy is not the sad, but inevitable, result of an “old-school coach”

24 miscalculating the effect of his harsh coaching style on an overly sensitive Generation Z teenager.
25 Decedent was neither overly sensitive nor weak. He was a focused, strong-willed endurance athlete
26 with no prior history of mental illness. Decedent enrolled in UCSD, in fall 2019, after a successful
27 run as a varsity athlete in high school. He was a determined, empathetic teammate who led his high
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         Initials are used for privacy purposes.
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 1 school rowing club, ran in the New York City marathon, and competed in the Iron Man Triathlon
 2 in Lake Placid, New York.
 3          Upon information and belief, immediately before being hired by UCSD, Bond was forced

 4 to leave his prior position as rowing coach at University of Pennsylvania (“UPenn”) after the rowers
 5 threatened to quit in protest of Bond’s abusive behavior and ineffective coaching. Defendants were
 6 aware of Bond’s prior employment history and knew or should have known that he posed a
 7 dangerous risk to every student athlete he “coached.” Defendants negligently failed to ascertain and
 8 recognize this risk in their rushed hiring process, which was a breach of their duty to maintain a safe
 9 educational environment, free from hostility and abuse. Decedent’s death could, and indeed should,
10 have been avoided. Defendants’ misconduct was the proximate cause of Decedent’s wrongful death,
11 the tragedy that forms the subject matter of this action.
12                                    JURISDICTION AND VENUE

13          1.      Jurisdiction of this Court is invoked pursuant to this Court’s federal question and

14 supplemental jurisdiction pursuant to 28 U.S.C. §§ 1331; 1367 respectively because: (i) the federal
15 law claim arises under the Constitution and statutes of the United States; and (ii) the state law claims
16 are so closely related to the federal law claim as to form the same case or controversy under Article
17 III of the United States Constitution. Further, this Court has diversity and supplemental jurisdiction
18 pursuant to 28 U.S.C. § 1332 because Plaintiff and Defendants are citizens of different states and
19 the amount in controversy exceeds $75,000.00, exclusive of costs and interest.
20          2.      Plaintiffs bring this action as administrators of the estate of Decedent, as Decedent’s

21 parents, the personal representatives of his estate and successors in interest.
22          3.      This Court has personal jurisdiction over Defendant UCSD on the grounds that it is

23 conducting business within the Southern District of California.
24          4.      This Court has personal jurisdiction over Defendant Board of Regents of University

25 of California, on the grounds that it is conducting business within the Southern District of California.
26          5.      This Court has personal jurisdiction over Defendants Bond, McGann and Edwards,
27 on the grounds that they are employed by UCSD, and at all times relevant herein were acting within
28 the course and scope of their employment with UCSD.
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 1          6.     Venue for this action properly lies in this district pursuant to 28 U.S.C. §1391

 2 because UCSD is located in this judicial district and a substantial part of the events and omissions
 3 giving rise to the claim occurred within the Southern District of California.
 4                                               PARTIES

 5          7.     Plaintiffs are citizens of the United States and are residents of New York. Plaintiffs

 6 are the parents of Decedent.
 7          8.     Plaintiffs are the successors in interest of Decedent under California law because

 8 Decedent died with no surviving issue and Plaintiffs are therefore entitled to the property of the
 9 Decedent by intestate succession. Plaintiffs were also appointed Administrators of Decedent’s
10 Estate by the Surrogate Court of Westchester County in the State of New York on June 22, 2021.
11          9.     At all relevant times herein, Plaintiffs were the parents and natural guardians to

12 Decedent, who was a student residing in San Diego and enrolled at the University of California
13 San Diego.
14          10.    At all times relevant to this Complaint, Defendant UCSD was and is a public

15 university and recipient of federal funds located in San Diego, California where it maintains its
16 principal offices and places of business.
17          11.    At all times relevant to this Complaint, the Regents of UCSD was and is the

18 governing body of the University of California.
19          12.    Under Article IX, Section 9 of the California Constitution; the Board has “full powers

20 of organization and governance” of the University of California, including oversight of policy
21 making and enforcement. The Regents of the University of California is the official name of the
22 public corporation that governs and operates the University of California as a public trust through
23 its 26-member board of Regents. UCSD is one of the 10 campuses of the University of California
24 system and is in San Diego, California.
25          13.    At all times relevant to this Complaint, Defendant Bond was and is employed as head

26 coach of the men’s rowing team by the Defendant UCSD.
27          14.    At all times relevant to this Complaint, Defendant McGann was and is employed as

28 associate athletic director by the Defendant UCSD.
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 1          15.     At all times relevant to this Complaint, Defendant Edwards was and is employed as

 2 athletic director by the Defendant UCSD.
 3                    FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

 4 I.       BACKGROUND

 5          a.      Bond Comes to UCSD After Rower Protest at the University of Pennsylvania

 6          16.     Bond secured the head coach position at UCSD because the athletic director,

 7 Edwards, and his associate athletic director, McGann, conducted a rushed search, lacking proper
 8 due diligence.
 9          17.     Coaches possess tremendous power and influence over their athletes, particularly in
10 college where students dedicate a substantial part of their lives to their chosen sport. Freshman
11 athletes, many of whom are one year removed from living at home with their parents, seek security,
12 guidance, encouragement, and reassurance from their coaches.
13          18.     Athletic directors and other employees who hire coaches, including Defendants

14 Edwards and McGann are or should have been fully aware of the above-described dynamic between
15 coaches and student athletes.
16          19.     Athletic directors and other employees who hire coaches, including Defendants

17 Edwards and McGann are or should have been fully aware that a hiring process, including
18 background checks, must be diligent.
19          20.     The vetting process and background check, or lack thereof, in this matter fell well

20 below NCAA and acceptable pedagogical standards.
21          21.     This insufficient, negligent, and rushed process led to UCSD’s hiring a coach, Bond,

22 whose abusive approach to coaching would have been ascertained had due diligence in the hiring
23 process been performed.
24          22.     While Bond’s lengthy resume may have initially looked good on paper, even the

25 most cursory background check would have revealed the coach to be an inappropriate choice.
26          23.     For example, a mutiny by the student athlete rowers at UPenn was not difficult to
27 uncover.
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 1          24.    Decedent, and other members of the UCSD rowing team, were able to uncover

 2 Bond’s checkered past, limited team success and the UPenn protest within a few minutes and a
 3 couple phone calls.
 4          25.    Bond’s history of abuse and erratic, anti-social behavior, was a poorly kept secret in

 5 the tight-knit, national rowing community.
 6          26.    Bond rowed in college at Brown University in Rhode Island. He began his career

 7 coaching rowing at Berkeley High School in 1993. Bond’s first job coaching in college was
 8 associate head coach under the legendary rowing head coach, Steve Gladstone, at University of
 9 California Berkeley in 1996. Bond coached the UC-Berkeley freshmen team for 12 years, mostly
10 benefiting from the halo of Gladstone’s success and stellar program.
11          27.    After Berkeley, and a brief stint training the Chinese National Team, Bond became

12 head coach of Deerfield Academy, a preparatory private high school in New England, in 2014. He
13 only coached at Deerfield for one year.
14          28.    Bond left Deerfield to be head coach of UPenn in men’s rowing in 2015. Bond

15 would, again, leave a seemingly prestigious position after a short tenure as coach. Upon information
16 and belief, Bond lasted three years before being forced out of UPenn when approximately 25 of the
17 rowers he coached threatened to quit unless Bond was removed.
18          29.    Upon information and belief, the student athletes at UPenn refused to continue to

19 row under Bond due to his verbal abuse. Bond was a known bully within the UPenn rowing program.
20 He regularly made sexually explicit, offensive remarks, and lobbed politically incorrect insults at
21 his rowers.
22          30.    Upon information and belief, Bond taught outdated technique, discouraged athletes

23 from receiving treatment from their own trainers and prevented the team’s lifting coach from
24 strength-building with his rowers.
25          31.    After allegedly being forced out of UPenn, Bond was hired to be UCSD‘s men’s

26 rowing team head coach to replace Zack Johnson, who left in the summer of 2019, leaving UCSD
27 without a rowing coach as the semester and rowing season began.
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 1          32.     McGann, the associate athletic Director for UCSD, was charged with hiring the new

 2 coach to resurrect the second-rate rowing program in place at UCSD, with hopes of turning the
 3 rowing program into a legitimate Division I program.
 4          33.     Upon information and belief, in September 2019, when she realized the men’s

 5 rowing team was heading into Fall 2019 without a coach, McGann rushed through the process to
 6 find a new coach. As Bond was available, she hired Bond.
 7          34.     McGann’s hire was made without the appropriate level of due diligence; she was

 8 misled by Bond’s lengthy resume, failed to consider a wide range of capable coaches, and did little
 9 to no independent research into Bond’s background, prior positions, or the reasons he left seemingly
10 prestigious positions.
11          35.     McGann, for example, failed to uncover the reason Bond was forced out of UPenn,

12 and made no phone calls to his prior employer or members of the rowing community to uncover
13 same. If she had called, like Decedent and other UCSD rowers, McGann would have discovered
14 Bond’s reputation for abuse, and erratic, inappropriate behavior, as were well-known in the rowing
15 community.
16          36.     McGann and Edwards, as McGann’s supervisor, throughout the hiring of Bond,

17 failed to act appropriately in that they failed to consider multiple candidates or properly vet the ones
18 they hired, an integral part of the hiring process for any new coach.
19          37.     On October 1, 2019, Bond was hired to be the head coach of UCSD men’s rowing.

20          38.     When McGann hired Bond to replace Zach Johnson as head coach in October 2019,

21 she also hired Bond’s longtime assistant coach, Dameon Engblom (“Engblom”).
22          39.     This negligent hiring had grave ramifications for Decedent, as detailed below.

23          40.     The start of Bond’s employment coincided with the first semester of Decedent’s

24 freshman year, Fall 2019.
25          b.      UCSD Has Received Negative Press for the University’s Failure to Report

26                  Investigate and Address Sexual Misconduct on Its Campus
27          41.     While UCSD promotes itself as a university committed to rooting out sexual

28 misconduct among its student population, UCSD’s conduct in this matter and failure to act as
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 1 required under applicable policies, procedures, regulations and guidelines were done to avoid
 2 garnering ‘bad press’ for the school’s insincere commitment to protecting purported victims of
 3 sexual assault.
 4           42.     UCSD has a well-documented history of insufficient response to complaints of

 5 sexual misconduct, particularly when those accused of wrongdoing are employees of the university.
 6           43.     In May 2019, The Triton, the independent, student-run newspaper of UCSD, reported

 7 that five members of the UCSD staff were allowed to resign, without discipline, after they were
 8 found      to     have    violated   UCSD      Title    IX    sexual    misconduct     policy.    See

 9 https://triton.news/2019/05/five-staff-resign-without-discipline-after-violating-title-ix-policy/The
10 Triton.
11           44.     According to the article, there were six employees total who violated UCSD policies

12 prohibiting sexual violence and sexual harassment, but only one of the employees faced disciplinary
13 action by the UCSD. Id.
14           45.     The sexual misconduct investigations, conducted in 2016 and 2017, revealed

15 repeated instances of sexual harassment by supervisors, nonconsensual sexual touching and
16 inappropriate, discriminatory remarks experienced by subordinates. The misconduct consisted of
17 the following:
18                   a.     In a June 2016 report, a female employee complained of racism and sexual

19                          harassment by her female supervisor, who made sexual remarks about phallic

20                          foods, commented on the subordinate’s body parts, and mocked her accent.

21                          The supervisor was found to have violated the policy and was allowed to

22                          resign.

23                   b.     An August 2016 investigation revealed a nurse manager at the university’s

24                          hospital was found responsible for sexually harassing her male subordinates,

25                          inappropriately groping their ‘butts and nipples’, snapping their waistbands,

26                          inserting her tongue in their ears, and inserting lube in someone’s ear.
27                          Additionally, the supervisor told a male subordinate it was his job to give

28                          massages and reportedly made “too many [sexual comments and gestures] to

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 1                              count.” The nurse manager denied most of the allegations but admitted to

 2                              groping the nipple of a co-worker she knew “socially” and inserting the lube

 3                              in a nurse’s ear while he treated a patient. The supervisor was found in

 4                              violation of policy and resigned.

 5                 c.           In March 2017, a nurse resigned after an investigator found him responsible

 6                              for sexual harassment of a fellow nurse, who alleged the respondent could

 7                              “not stop talking about sex” and liked “scanning women with his eyes.”

 8                 d.           A report of an investigation from November 2017 found a supervisor violated

 9                              the school’s policy against sexual harassment when he made numerous
10                              unwelcome comments to a student employee via text message, social media,

11                              and email. The supervisor resigned after the investigation.

12                 e.           In June 2016, the school found a female employee of an undisclosed

13                              workplace at UCSD was harassed by a male co-worker who repeatedly made

14                              homophobic and sexist remarks to the complainant. The respondent was

15                              directed to take online training on sexual harassment by supervisors and told

16                              to keep his thoughts on sex and gender to himself. Id.

17         46.     The May 2019 Triton article was one of multiple reported sources revealing incidents

18 in which UCSD received negative press for the university’s inadequate and slow response to
19 inappropriate sexual harassment by a school employee.
20         47.     In November 2019, UCSD fired psychology professor Nicholas Christenfeld, over

21 one      year        after       he      emailed      pornographic      material      to    a     student.

22 https://www.voiceofsandiego.org/topics/education/a-ucsd-professor-sent-a-student-porn-heres-
23 why-it-took-a-year-to-fire-him/
24         48.     Prior to the delayed firing, Christenfeld was the subject of multiple complaints over

25 more than a decade at UCSD, yet the tenured professor received nothing more than a warning for
26 these complaints. Id.
27         49.     The Voice of San Diego, a non-profit investigative news outlet covering the San

28 Diego Region, obtained documentation in February 2021, which showed that five people filed
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  1 complaints against Christenfeld, for sexual misconduct ranging from inappropriate relationships to
  2 sexual harassment. Id. The documents uncovered by the site also noted the professor “had a history
  3 of dating students.” Id.
  4         50.     The Voice of San Diego article, authored by Ethan Coston on February 17, 2021,

  5 detailed the previous complaints which dated back fifteen years before Christenfeld’s firing:
  6                 a.     In 2004, a student filed a sexual harassment against Christenfeld because his

  7                        staring made her uncomfortable, and because there were rumors, he dated

  8                        students. UCSD gave him a ‘warning and education meeting.’

  9                 b.     In 2008, an individual filed an anonymous complaint of Christenfeld dating
 10                        a student, but the university did not investigate because the psychology

 11                        professor did not have a supervisory relationship.

 12                 c.     In 2013, UCSD opened an investigation into Christenfeld because two people

 13                        who worked for his department believed they interrupted intimate activity

 14                        between the professor and a student.

 15                 d.     In 2014, UCSD investigated Christenfeld but found him not responsible for

 16                        sexual harassment for conduct vaguely described as complainant’s “rejection

 17                        of respondent’s advances.”

 18                 e.     In a similarly vague report by the university, in 2017, UCSD implemented

 19                        “preventative measures” in response to an unidentified individual’s

 20                        complaint that Christenfeld was “inappropriately flirtatious.” Id.

 21         51.     UCSD has a pattern of enabling university employees’ inappropriate behavior.

 22         52.     Most recently, the negative press continued with a snapshot of the UCSD Provost’s

 23 costly misbehavior and general disrespect of women.
 24         53.     In September 2020, UCSD settled a lawsuit brought by Former UCSD Associate

 25 Vice Chancellor Jean E. Ford against the school contending Chancellor Pradeep Khosla (“Khosla”)
 26 was abusive toward her and other female employees, then retaliated against her for voicing her
 27 concerns. https://www.sandiegouniontribune.com/news/courts/story/2020-09-24/ucsd-chancellor-
 28 and-former-exec-reach-settlement-in-discrimination-lawsuit.
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  1          54.      The gender and age discrimination suit, settled for an unknown sum, alleged five

  2 women, over the age of 40, were targeted by Khosla, and subjected to daily abuse, including
  3 demeaning and humiliating comments, from the Chancellor. Id.
  4          55.      Khosla would favor male donors, and respond to their complaints immediately,

  5 however if female donors made complaints, he would describe the female donors as “just being
  6 difficult.” Id.
  7          56.       The Chancellor allegedly told his subordinate, when Ford was complaining of her

  8 heels hurting her feet at a work event, that the “only reason” for her to wear heels was if she was
  9 wearing a skirt so people could see her “taut calves” and that Ford “shouldn’t bother” with heels
 10 since she wore pants regularly. Id.
 11          57.      In meetings, Ford alleged that Khosla interrupted and spoke over women; peppered

 12 them with questions about minute and unimportant details, demeaned and mocked their
 13 contributions to conversations and achievements. Males did not suffer the same abuse. Id.
 14          58.      When Ford voiced the above concerns to the Chancellor, Khosla sabotaged her

 15 fundraising efforts and made disparaging remarks about her to her co-workers, subordinates, and
 16 donors, hurting her reputation during her time at UCSD and after she was fired in August 2018. Id.
 17          59.      The above media coverage of UCSD lays in stark contrast to the image the university

 18 attempts to portray to students, employees, community members, potential students, and their
 19 parents.
 20          c.       Relevant Portions of UCSD Policies and Procedures

 21          60.      The Office for the Prevention of Harassment & Discrimination (“OPHD”), the

 22 UCSD Title IX Office, and the university in general, promotes itself as a safe space for people to
 23 report incidents like those listed above and in the instant matter.
 24          61.      The school proclaims, “UC San Diego is committed to the highest standards of

 25 civility and respect toward all as reflected in the UC San Diego Principles of Community. The
 26 university rejects acts of harassment and discrimination, works to resolve concerns, and investigates
 27 known facts to determine if university policies have been violated.”
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  1          62.    OPHD directs that “Responsible Employees,” i.e., any university employee who is

  2 not a confidential resource and who receives, in the course of their employment, information that
  3 prohibited conduct or retaliation has occurred, are required to “promptly notify the Title IX Office
  4 (OPHD)”. https://ophd.ucsd.edu/_files/flyers-handouts/ResponsibleEmployees.pdf.
  5          63.     According to OPHD, “[a]s a Responsible Employee, you must contact OPHD as

  6 soon as possible when you learn that any UCSD student, staff, faculty, or patient has potentially
  7 experienced an incident of sexual violence or sexual harassment. Share whatever information you
  8 have, including the names of any individuals involved, their contact information, and any details of
  9 the incident you have.” https://ophd.ucsd.edu/report-bias/index.html.
 10          64.    OPHD further advises, “[a]s a Responsible Employee, you should report directly to

 11 OPHD, even if you are unsure that the incident actually occurred or unsure whether it constitutes
 12 sexual harassment or sexual violence. You should not investigate the report and should not try to
 13 intervene or resolve the issue.” Id.
 14          65.    The individual Defendants in this matter, Bond, Engblom, and McGann, were all

 15 Responsible Employees in this matter upon learning of the conduct engaged in by Z.B.
 16          66.    Upon information and belief, Defendant Edwards, as an employee of the university

 17 irrespective of his role as the university athletic director, became a Responsible Employee upon
 18 learning of Title IX allegations against Z.B.
 19          d.     Decedent Chose UCSD as a Freshman Scholar-Athlete to Row and Help Build

 20                 a Division-I Program

 21          67.    Decedent enrolled at UCSD in the Fall 2019 semester to pursue an undergraduate

 22 degree in real estate and development and to continue his passionate pursuit of rowing, as a scholar-
 23 athlete of the class of 2023 men’s rowing team.
 24          68.    Decedent was drawn to UCSD for its academics and to be a part of the university’s

 25 commitment to building a Division I program, as pitched by McGann to prospective rowers for Fall
 26 2019 despite the head coach vacancy. It was understood, however, that a coach of comparable, if
 27 not better, skill and style would fill Zack Johnson’s former position as rowing coach.
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  1           69.      Decedent was an accomplished athlete prior to enrolling at UCSD, and he aspired to

  2 become a Division I (“D-I”) student athlete. He thrived on competition and overcoming challenges,
  3 so competitive team rowing became his passion in high school. Decedent was a dedicated,
  4 supportive teammate who flourished as a leader of the Pelham Community Rowing Association
  5 (PCRA). Decedent won the “most improved” rower award his junior year of high school, then led
  6 the boat as team captain his senior year. He earned a bronze medal at the Philly Youth Regatta 8+
  7 in 2018. Decedent was widely regarded as the consummate teammate, always present with words
  8 of encouragement and positive reinforcement. Like many young, exceptional athletes, Decedent
  9 drew a tremendous amount of his self-worth and confidence from his on-field accomplishments,
 10 requiring his consistently overcoming adversity, physical limitations, and challenges.
 11           70.      By way of example, Decedent overcame Juvenile Rheumatoid Arthritis to mold

 12 himself into a top-shelf athlete, despite gaining over thirty pounds from the condition in middle
 13 school, giving rise to an extreme, lasting sensitivity about his weight. He struggled with a new BMI
 14 that qualified Decedent as obese, causing him to lose confidence and, sadly, some friends in his
 15 early teenaged years. While he was eventually able to lose the weight, and keep it off, Decedent
 16 remained susceptible to body shaming throughout his life.2
 17           71.      To accomplish his remarkable weight loss, Decedent relied on his support system, a

 18 loving family, and true friends in his hometown of Scarsdale, New York, as well as his own will
 19 power and hard work. Further, he was blessed with multiple real coaches in his life, prior to college,
 20 who took their role seriously, serving as mentors, motivators, disciplinarians, confidantes, and
 21 guardians all at once. The admirable support system and healthy passions carried Decedent through
 22 the awkward struggles of middle school, and led to sustainable weight loss, personal growth, and
 23 exceptional success in high school.
 24           72.      Despite the health struggles, Decedent completed the New York City Marathon for

 25 the Arthritis Foundation in 2018 and the Lake Placid Ironman in 2019, wherein participants swim
 26
 27   2
        Decedent shared the pain, and shame, he felt from his childhood obesity with his coaches and friends on the rowing
      team throughout his freshman year. Though the obesity was in the rearview, Decedent was clearly sensitive to his
 28   former unhealthy stature, feeling inferior whenever reminded of same. Unfortunately for Decedent, the reminders came
      often from Bond, after the relentless bully recognized the pain, he could inflict from this sore spot.
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  1 2.4 miles, bike 112 miles and then run 26.2 miles. The race is widely considered to be one of the
  2 most grueling single-day sporting events in the world.
  3           73.    This impressive determination, work ethic and internal strength served Decedent

  4 well off the field as well: he worked hard at multiple jobs, including construction jobs in the
  5 summer, an internship in corporate sustainability and a men’s streetwear brand, Pyrony, founded by
  6 Decedent, himself. Decedent enjoyed his many interests, hobbies and, above all, his passion for
  7 sports. He worked hard to hone his wide skillset and maintained a joyous passion for life.
  8           74.    Decedent received the Henry David Thoreau Award in high school, given to the

  9 senior who marched to the beat of his own drum. He came to UCSD with a clear, satisfied mind,
 10 prepared to begin his journey toward adulthood and a rewarding life.
 11           75.    Decedent was a loving and admired son, brother, grandson, nephew, cousin, friend,

 12 and teammate.
 13           76.    Decedent had no mental health issues prior to his enrollment at UCSD.

 14           77.    The emotional pain and suffering he would come to endure was wholly attributable

 15 to the Defendants’ collective conduct.
 16           78.    Decedent distinguished himself quickly as a freshman leader on the rowing team in

 17 the initial quarter of the Fall 2019 semester. He was quick to make friends and was predictably
 18 happy to fully participate in team-building activities.
 19           79.    Bond was hired to be coach in or about October 2019, over a month into the fall

 20 season.
 21           80.    Bond’s hire by McGann in October was poorly planned and rushed. The flawed

 22 process was particularly inexplicable given she had at least two months to plan for the head coaching
 23 vacancy created by Zack Johnson’s departure in the summer.
 24           81.    The new coaches would soon prove unfit to lead the program into D-I. Similarly,

 25 UCSD failed to fulfill basic team needs, as uniforms were not ordered, and no team photos were
 26 taken in Fall 2019 or Spring 2020 seasons. The program was clearly not ready for D-I competition.
 27 The coaches were incapable of performing the basic functions of their jobs.
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  1            82.      Bond's treatment of his student-athletes, at first, appeared to be of the run-of-the-mill

  2 “tough” variety, including challenges to the teenagers’ toughness and sophomoric, sexually tinged
  3 insults to push their “manliness.”
  4            83.      This culture contravened the express claims of UCSD, which trumpeted to its

  5 prospective students its inclusive, safe campuses as being nurturing environments, free from
  6 toxicity.
  7            84.      Bond’s conduct toward Decedent far exceeded the old-school, standard “tough love”

  8 coaching tactics, as the coach targeted the 19-year-old freshman with mean-spirited personal attacks,
  9 which increased in intensity after Decedent challenged him.
 10            85.      When Bond first came to coach the team, during the second quarter of the Fall 2019

 11 semester, he appeared to recognize Decedent’s value to the rowing team. The freshman was clearly
 12 a hard-working, supportive teammate and vocal leader with erg3 scores that warranted inclusion on
 13 one of the school’s varsity boats.
 14            86.      Decedent was no stranger to hard work and sacrifice, and his commitment to the team

 15 was apparent. Decedent did more erg machine work outs, with erg scores that were faster than the
 16 bulk of his teammates and nearly all his fellow freshmen. Decedent’s hard work and competitive
 17 spirit impressed teammates and coaches alike at UCSD who wanted him for his athleticism and
 18 leadership. Decedent’s passion for the program and appealing personality appeared to lay the
 19 foundation for success as a D-I athlete. He was focused on, and capable of, making this athletic
 20 dream come true.
 21            87.      Bond began the season as an apparent fan of Decedent, who successfully earned and

 22 secured his spot in one of the top three varsity boats. (The fourth boat was considered to be a
 23 noncompetitive type boat, consisting mainly of freshmen, inexperienced walk-on rowers, who were
 24 not “boated” as they did not race as often or practice on water as much).
 25            88.      Bond praised Decedent in front of teammates and placed him in the “2V” (the 2nd

 26 Varsity, second best) boat.
 27
      3
       Erg scores measure rowing speed on the ergometer, the standard rowing machine found in most fitness gyms. The
 28   measure of speed is the time it takes to cover a specific distance, typically 2000 meters. The lower the erg score the
      better, for it signifies the rower took less time to cover the same distance.
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  1          89.    Still, Bond’s issues, i.e., an inability to control his anger, hurling sexual and

  2 otherwise, inappropriate insults at his rowers, appeared with increasing frequency as the first
  3 semester progressed, and Bond grew more comfortable.
  4          90.    Decedent, and his fellow freshmen rowers, quickly learned what the UPenn rowers

  5 had endured under Bond: Bond was not an effective coach, teacher, leader, or mentor. He was a
  6 sadistic bully; an angry, volatile man whose rage surfaced often and unexpectedly. The rowers were
  7 subjected to sexually inappropriate comments, petty insults, and erratic behavior.
  8          91.    In the early days of Bond’s tenure, Decedent was treated relatively respectfully, as

  9 other rowers drew the coaches’ negative attention more frequently. Unfortunately, Bond’s approval
 10 of Decedent would quickly wane, when the coach became enraged by what he viewed as Decedent’s
 11 insubordination. Bond would soon view Decedent as an enemy after the freshman questioned
 12 Bond’s failure to report multiple sexual misconduct allegations against Z.B., another freshman
 13 rower. Decedent’s integrity incensed Bond, causing him to take numerous adverse actions against
 14 a brave teenager who stood up for what he believed in. As time went on, Bond’s vitriol towards
 15 Decedent became constant, and far more intense than what his teammates experienced.
 16          e.     Bond’s Abuse Intensifies

 17          92.    The UCSD rowers gave their new head coach from the Ivy League the benefit of the

 18 doubt in Fall 2019. But Bond’s limits as a coach, mentor, leader, and human would all soon reveal
 19 themselves. For example, it struck Decedent as quite odd that Bond would chastise his rowers,
 20 Decedent and his freshmen teammates, for cheering each other on during intense rowing practices.
 21 The alleged coach would direct the student athletes to “shut up” while rowing, rather the express
 22 support and encouragement for their teammates.
 23          93.    Bond exhibited a general disregard for his student-athletes’ health, taught them

 24 outdated rowing techniques, and mocked the rowers who reverted to the modern, effective
 25 techniques they learned previously.
 26          94.    In lieu of inspiration, wisdom and leadership, Bond assailed his student athletes with
 27 inappropriate insults, regularly using sexual and/or otherwise inappropriate terms, mocking them
 28 for their insufficient testosterone, “flaccid” manhood, small “testicles” and/or lack of “manliness,”
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  1 in general. He also would question his rowers’ loyalty to the team, which could only be established
  2 by their complete submission to the coach.
  3          95.    Bond routinely ridiculed the rowers for not being “man enough,” chastised them for

  4 their lack of testosterone and labeled them as “pussies,” while doing workouts, or “pieces,” on the
  5 water. The pointless insults and awkward sexual references were offered instead of professional,
  6 thoughtful instruction or constructive criticism that is expected of a university head coach.
  7          96.    In rowing, as in other sports, ‘tough love’ and aggressive challenges can be the norm,

  8 but Bond’s conduct in engaging in constant bullying, abuse, and harassment was severe, pervasive,
  9 and objectively unreasonable. It went well beyond the realm of even the most aggressive coaching.
 10          97.    The student athletes lived in fear of Bond’s constant, unprovoked rage-filled

 11 outbursts that were peppered throughout practices with the above demeaning words. Bond would
 12 intentionally target a single rower, or coxswain, to publicly humiliate the student in front of
 13 teammates, among others.
 14          98.    On at least one occasion, he repeatedly screamed at a freshman rower, ridiculing him

 15 that he was “flaccid! Your word of the day is flaccid!” On another occasion, a coxswain made a
 16 minor error in setting the timer at practice. Bond shouted in rage, “Maybe if you weren’t finger
 17 fucking your phone that wouldn’t have happened!”
 18          99.    Bond frequently mocked the weight of certain rowers, firing off emotionally

 19 intimidating demands that they needed to stop eating because they were too fat, lazy, and unwilling
 20 to meet his extreme demands.
 21          100.   Decedent, as described above, had previously struggled with serious weight issues.

 22 Decedent’s struggled as he was pelted with consistent “fat” jokes from Bond and tried to maintain
 23 the narrow weight limits the coach demanded of his rowers.
 24          101.   Bond harassed rowers and mocked them with politically incorrect remarks when they

 25 suffered physical injuries, extreme exhaustion, or sickness from workouts. On at least one occasion,
 26 Bond screamed at a freshman walk-on for seeking treatment from a team trainer for an injury, and
 27 then screamed again at the walk-on for following the team trainer’s instructions.
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  1          102.   Bond pushed Decedent and his teammates past their limits, exhibiting a disregard for

  2 the rowers’ general well-being.
  3          103.   Bond consistently made team members feel like failures to enforce compliance with

  4 his orders. A frequent example was Bond’s encouraging Decedent, and others, to vomit during
  5 unnecessarily grueling workouts. Bond first glorified rowers who worked out ‘so hard they puked,’
  6 then, after successfully inducing vomit, Bond would laugh and dismiss them as ‘pussies’ for
  7 vomiting.
  8          104.   Bond frequently glorified former rowers he allegedly coached at UC Berkeley, as the

  9 freshman coach, in the 90’s. The head coach shared tales of a rower who threw up during rowing
 10 practice and, according to Bond, ‘valiantly’ continued to row after vomiting.
 11          105.   On the surface, Bond told this story as an example of dedication and perseverance,

 12 yet he simply took pleasure in the unhealthy practice of forcing his student athletes to vomit, then
 13 mocking them for being weak.
 14          106.   Decedent worked out on an erg rowing machine until he threw up on November 25,

 15 2019, seeking approval from Bond, after hearing of the rower from Berkeley his coach glorified.
 16          107.   Immediately after Decedent vomited, Bond and Engblom mocked the 19-year-old,

 17 derisively laughing while saying “[t]hrowing up is for pussies.”
 18          108.   Bond’s coaching ‘style’ was insulting, demeaning, and rooted in a willful disregard

 19 for his rowers’ health. His conduct was unacceptable, even by the “tough love” standards of most
 20 elite collegiate rowing programs. Worse still, they were ineffective, as Bond’s athletes generally
 21 failed to achieve success.
 22          109.   As 2019 ended, Bond’s abuse, harassment and bullying grew in severity and

 23 frequency. Bond carefully covered himself, and his abusive harassment, after-the-fact by feigning
 24 compassion or concern for his athletes through electronic communications. This faux compassion
 25 only appeared after he engaged in particularly extreme in-person abuse, or when a supervisor, like
 26 McGann, came to the boathouse or a practice to observe him.
 27          110.   While the abuse, harassment, and bullying by Bond in the Fall 2019 semester was

 28 improper, it paled in comparison to the deplorable conduct by Bond in the Spring 2020 semester,
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  1 when he engaged in retaliation against Decedent.
  2           f.     Z.B. Retains Embarrassing Photographs of Other Rowers Including Decedent

  3                  Taken During “Freshmen Week,” and These Photographs Were Used as

  4                  Leverage Against Decedent

  5           111.   The Spring 2020 semester started with “Freshmen Week,” in which the freshmen

  6 rowers were given a list of tasks to complete. The freshmen were tasked with completing various
  7 “team building” tasks, such as scavenger-hunt in which they were required to interact with various
  8 members of the UCSD rowing team and community, including upper classmen, McGann and
  9 Engblom.
 10           112.   The annual tradition of the UCSD rowing team culminated with an “Initiation Night”

 11 for the freshmen, which consisted of drinking and hazing activities.
 12           113.   On January 18, 2020, the freshmen rowers, including Decedent, were told to bring a

 13 photo ID, change of clothes, gallon of Jell-O and “goblet” glass for alcohol consumption, to a
 14 designated location on the side of the road in La Jolla for their “Initiation Night”.
 15           114.   Decedent and his fellow freshman rowers reported to the location where the upper

 16 classmen teammates waited. The freshmen were directed to put on blindfolds, zip-tied to one another
 17 in groups of two or three and then guided into vehicles.
 18           115.   Once in the cars, the freshmen were forced to consume hard alcohol, syrup, whipped

 19 cream, bread, cabbage, hot peppers, and carrots, all while sitting in the car with the heat at full blast.
 20 The upper classmen then drove the freshmen, still blindfolded, to a beach in Mission Bay. The
 21 teenagers were told they were crossing the border into Tijuana, Mexico, though.
 22           116.   After the beach, the freshmen were brought to the rowing team captain’s residence

 23 to participate in several binge drinking challenges, including chugging and “shotgunning” beers,
 24 combined with physical activities like rowing on the erg machine and spinning around until dizzy.
 25 They played trivia games with the losers told to chug beer. The freshmen ate a significant amount
 26 of Jell-O laced with hard liquor. In one game, they were told to retrieve an exact amount of change
 27 collecting coins in the Jell-O they consumed.
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  1          117.   The night continued with some additional hazing, and otherwise embarrassing

  2 behavior.
  3          118.   The night, like much of “Freshmen Week” activities, was captured via digital

  4 pictures which reflected the team building, hazing and binge drinking.
  5          119.   The pictures were secured on a Google drive by a member of the freshmen rowing

  6 class, “Z.B.”
  7          120.   Z.B. would use these pictures to protect himself shortly after “Initiation Night.”

  8          g.     Sexual Assault Allegations Made Against Z.B.

  9          121.   Days later, Decedent learned that Z.B., was accused of sexual misconduct by
 10 multiple female students at UCSD.
 11          122.   Upon information and belief, the individually named Defendants, among other

 12 Responsible Employees at UCSD, were aware of the sexual misconduct allegations made against
 13 Z.B. but failed to report same.
 14          123.   These Responsible Employees, as designated by UCSD OPHD policy, included,

 15 without limitation, Bond, Engblom, McGann and multiple resident advisors.
 16          124.   These Defendants failed to comply with their obligations under the OPHD policy,

 17 for the Responsible Employees were obligated to act promptly in contacting OPHD immediately
 18 upon hearing the allegations against Z.B.
 19          125.   On or about January 21, 2020, a teammate approached Decedent and informed him

 20 that a freshman girl, who wanted to remain anonymous, alleged she was sexually assaulted, both
 21 verbally and physically, on multiple occasions by Z.B, the freshman team member. This startling
 22 report was one of several that UCSD agents ignored.
 23          126.   Decedent, and his freshmen teammates, learned of multiple reports lodged against

 24 Z.B., who was accused of, at a minimum, the following conduct constituting sexual misconduct
 25 within the meaning of the UCSD OPHD Title IX Policy in effect at the time:
 26                 a.     Groping female students and making sexually inappropriate comments to
 27                        them in the school library, despite repeated requests for Z.B. to stop the

 28                        unacceptable behavior.

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  1                 b.      Sending a sexually inappropriate Snapchat to a fellow female rowing team

  2                         member, with whom Z.B. had briefly been romantically involved in the fall

  3                         semester. The female rower repeatedly told Z.B. that she was not interested

  4                         in continuing the romantic relationship and asked to be left alone. In response,

  5                         Z.B. sent an inappropriate Snapchat to the girl with a picture of Z.B. and

  6                         another student the girl was rumored to have been romantically involved

  7                         with, and the question “Who was better?” superimposed over the boys’

  8                         pictures.

  9                 c.      Two members of the men’s rowing team were approached by a resident
 10                         advisor in Warren College and told that Z.B. needed to be confronted; his

 11                         repeated sexually inappropriate behavior, including relentless attempts at

 12                         sexual advancement over objection, was making numerous girls feel

 13                         uncomfortable.

 14                 d.      Decedent was approached by two female students who advised they were

 15                         each personally victimized by Z.B. with repeated instances of sexually

 16                         inappropriate behavior, relentless attempts of advancement over their

 17                         objection and hearing uninvited details of Z.B.’s masturbation habits.

 18                 e.      Upon information and belief, a second resident advisor approached the

 19                         rowing team captains about similar sexually inappropriate behavior by Z.B.

 20          127.   Decedent and his friends on the rowing team were outraged by the allegations, and

 21 Decedent personally felt Z.B.’s affiliation with the team, with seemingly no consequences for his
 22 sexual misconduct, was an affront to his own integrity and the overall integrity of the team.
 23          128.   In January 2020, Decedent, and his friends, were further incensed when they learned

 24 that their coaches, Bond and Engblom, were aware of the above allegations lodged against Z.B.
 25          129.    Bond and Engblom received these reports which dated back to the Fall 2019

 26 semester. These Responsible Employees under the policy failed to follow the protocol directed by
 27 OPHD. The coaches inexplicably sought to protect Z.B. and shield him from having to face
 28 responsibility for his conduct.
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  1           130.    Decedent’s moral compass, quality upbringing and brutal honesty, led him to a state

  2 in which he could not remain silent about Z.B.’s conduct. He was deeply troubled by the coaches’
  3 refusal to take action and their indifference to the allegations of sexual misconduct against his fellow
  4 freshman teammate.
  5           131.    Decedent, and his friends, observed similarly inappropriate behavior and found it

  6 incredible that the rowing coaches, and the team captains under their control, remained silent, in
  7 effect condoning allegations of Z.B.’s serious misconduct. Upset by the coaches’ refusal to act,
  8 Decedent was the lone rower brave enough to confront the coaches’ failure to act and indifference
  9 to the Title IX complaints against Z.B.
 10           132.    Decedent also voiced his discomfort with the team’s willingness to accept Z.B. on

 11 the rowing team to the captains and upperclassmen.
 12           133.    The captains told Decedent that the reason Z.B. was still on the team was because of

 13 threats he made to others regarding the pictures he possessed from “Freshmen Week” and “Initiation
 14 Night.”
 15           h.      Decedent Speaks to Bond and Engblom Concerning the Allegations Against

 16                   Z.B.

 17           134.    On January 31, 2020, Decedent approached Bond and Engblom in the coach’s office

 18 to seek advice.
 19           135.    Decedent was struggling from a physical perspective, feeling under the weather with

 20 flu-like symptoms, coughing and congestion.
 21           136.    He told the coaches that similar colds had never stopped him from practicing before,

 22 but these struggles were harder to handle.
 23           137.    Decedent further revealed to his coaches that he was suffering emotionally and from

 24 a mental health perspective.
 25           138.    Decedent cited Z.B.’s unchecked misconduct, and the coaches’ failure to take action

 26 regarding the allegations, as the cause of his deterioration.
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  1          139.   Bond coldly told Decedent to take the afternoon off, and dismissively advised

  2 Decedent, that he “and [his] homies should act as if nothing is wrong” concerning the matter with
  3 Z.B.
  4          140.   Bond acknowledged he was aware of the multitude of Title IX allegations, but

  5 assured Decedent, “the coaches were handling the situation.”
  6          141.   Bond also warned Decedent about reporting the allegations against Z.B., attempting

  7 to further scare him into silence stating, “I’ve seen him operate, I think he could be dangerous,” [to
  8 the team].
  9          142.   Bond was referring to Z.B.’s possession of photographic evidence of the “Freshmen
 10 Week” hazing. The evidence could seriously damage the team if the pictures were ever disclosed,
 11 as Z.B. allegedly threatened to do.
 12          143.   Decedent continued to raise his concerns to the coaches and captains regarding the

 13 coaches’ failure to report the matter, and the rowing team’s willingness to shield Z.B. from
 14 responsibility, despite the mounting allegations of sexual misconduct under UCSD’s Title IX Policy.
 15          144.   As a direct response to Decedent’s criticism of the team’s tolerance of Z.B.’s

 16 purported behavior, and his explicitly challenging the coaches’ failure to report Z.B.’s conduct to
 17 Title IX, Bond, as well as the coaches and captains who served at the head coach’s pleasure treated
 18 Decedent as an enemy of the rowing program. The team leaders grew increasingly cold toward
 19 Decedent and alternated between treating him with outward hostility and cold ostracism.
 20          145.   As a consequence of Decedent challenging the coaches and team leaders about Z.B.,

 21 Bond retaliated against Decedent.
 22          146.   Throughout the school year, Decedent consistently placed in the top 24 for UCSD

 23 rowers during his freshman year, based on his erg scores and ability on the water. Decedent was
 24 often outworking many teammates, and most of his freshmen classmates. His dedication earned
 25 him a prominent position in the second or third boats at regattas. (Note: of the four boats on the
 26 team, the top three boats, with eight rowers in each boat, were considered the competitive rowers).
 27 Decedent took tremendous pride in excelling as a freshman at the rowing program he chose to
 28 continue his passion, competitive team rowing. This hard work, leadership and performance
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  1 continued the entire time Decedent was rowing at UCSD, so he, objectively, should have had a spot
  2 on one of the top three varsity boats through March 2020 and beyond.
  3          147.   In late January 2020, however, immediately after Decedent raised his Z.B.-related

  4 concerns to Bond and Engblom, Decedent was inexplicably and without notice placed for the first
  5 time, in the fourth, bottom boat with rowers who had higher (worse) erg scores and far worse race
  6 performance than Decedent.
  7          148.   Decedent, ever the solid teammate, responded to the demotion by taking it as a

  8 challenge, without complaint, and attempted to inspire fellow members of the fourth boat.
  9          149.   Decedent understood Bond was punishing him for his encouraging the Responsible
 10 Employees to report the sexual misconduct allegations against Z.B., and then questioning the
 11 coaches’ failure to do so.
 12          150.   Decedent’s team-first attitude was openly mocked by Bond. Bond attacked Decedent

 13 with consistent insults: calling him a “pussy”; doubting Decedent’s “manliness,” “testicular”
 14 fortitude or “testosterone levels”; claiming Decedent was weak, immature, and questioning
 15 Decedent’s dedication to the rowing team.
 16          151.   Bond repeatedly mocked and harped on Decedent’s weight, preying on the 19-year-

 17 old’s extreme sensitivity about his weight. Though Decedent overcame his weight struggles and
 18 obesity from middle school, and presented as a physically fit, Iron Man, Bond often referred to him
 19 as “Fat [Decedent’s name]” hurt and humiliate Decedent.
 20          152.   When Bond was not mocking Decedent, or trying to make him vomit in workouts,

 21 he was intentionally cold and dismissive to the freshman, often suggesting he should leave the team
 22 activity or sending him away from a practice or a meeting. For an athlete who worked exceedingly
 23 hard to gain the acceptance, trust and praise of his coaches, the emotional banishment, ostracism,
 24 and general disregard from Bond, as well as the coaches and captains under his control, had a
 25 severely detrimental impact on Decedent.
 26          153.   On February 22, 2020, Decedent could no longer take the adversarial conduct. He
 27 and Z.B. got into a heated exchange during the fourth boat practice.
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  1           154.   Later that day, Decedent reached out to Engblom, and had a phone conversation in

  2 which he discussed Z.B. soiling the reputation and morale of the rowing team with the mounting
  3 sexual misconduct allegations and the team’s ignoring of same. He also asked Engblom whether
  4 there was a Title IX investigation into Z.B., but Engblom stated he did not know what was going
  5 on.
  6           155.   Engblom said he and Bond had been given information on the situation, and,

  7 allegedly, reported the sexual misconduct to their superiors.
  8           156.   Decedent told Engblom that he felt Z.B. was a liability to the team and their collective

  9 integrity. Decedent became emotional, and cried while speaking to his coach, but Engblom merely
 10 dismissed Decedent.
 11           157.   The conversation with Engblom concluded when Decedent asked him why they

 12 could not cut Z.B., and Engblom said “that is a question for your head coach.”
 13           158.   Still later February 22, 2020, at approximately 4:16 PM, Decedent texted Bond to

 14 ask if he could speak with the head coach, despite fully expecting Bond’s wrath.
 15           159.   Bond called Decedent approximately one hour later. Decedent boldly cut to the chase

 16 and asked, “Why is Z.B. still on the team?” Decedent recalled Bond’s response sounded like a
 17 prepared statement.
 18           160.   Bond said, in sum and substance, “Z.B. is still on the team because an investigation

 19 was conducted in which I reported information that was brought to my attention. It was concluded
 20 that there was no evidence of his wrongdoing. The school is on high alert of this behavior and if he
 21 has another infraction he will be removed from the team and likely the school.”
 22           161.   Decedent, not satisfied with this coach’s response, replied, “I don’t think it would

 23 reflect well on us if it were discovered that [Z.B.] were still on the team after all this.”
 24           162.   In response to the Decedent’s concerns, Bond responded, “As a son of an attorney

 25 that sounds like a threat. I would be extremely careful with your next few words. I am willing to
 26 work with you but don’t communicate with me in that way.”
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  1           163.   Decedent, again growing emotional, informed Bond that “this feels like

  2 psychological abuse and the team is suffering from the dynamic” created by Bond and Z.B.
  3           164.   Bond ended the conversation by informing Decedent if he had a problem with “any

  4 of this” he should “take it up with the ethics department of the school.” Bond then hung up on
  5 Decedent.
  6           165.   Immediately after his call with Bond, Decedent received a call from McGann. He

  7 told her of the initial report against Z.B. from a teammate, and all the aforementioned allegations.
  8 McGann’s response was, “these things take time to investigate,” indicating the investigation had not
  9 been concluded despite Bond’s assertion just minutes earlier that it had concluded with no finding
 10 of responsibility.
 11           166.   McGann then suspiciously told Decedent, “[n]ot to conduct his own investigation”

 12 into the matter.
 13           167.   On February 24, 2020, Engblom approached Decedent and, in referenced to the

 14 February 22nd call, stated, “[y]ou o.k.? That was some pretty embarrassing shit you were saying
 15 there.”
 16           168.   That day at practice, to further alienate Decedent from the team, Bond berated a

 17 coxswain for misstating a call the coach wanted. The furious coach shouted, “[w]ho the fuck said
 18 that? Whoever said that is a fat coxswain--someone who goes over the coaches like [Decedent]!
 19 We already have a fat [Decedent]! Don’t be a fat [Decedent]! Fat [Decedent] goes above his coach’s
 20 head and talks shit!” This was one of many examples of Bond’s pointed attacks aimed at Decedent’s
 21 sensitivity regarding his weight. Bond berated the student athlete by insulting Decedent, to deter
 22 Decedent from further mention of Z.B.’s alleged misconduct or the coaches’ failure to report same.
 23           169.   In late February 2020, the rowing team captains asked to speak with Decedent and

 24 two of his freshmen rowing friends after a morning practice. The captains implored Decedent to
 25 “lay off the situation with [Z.B.]” because, they claimed, they would handle the “situation” as
 26 elected captains and leaders of the team.
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  1          170.   The captains, like Bond and Engblom before them, claimed they had the Z.B.

  2 situation under control. Decedent and his friends were directed to maintain a “professional working
  3 relationship” with Z.B., and to “stay away from and ignore him.”
  4          171.   Decedent questioned whether the captains had “the situation” under control.

  5 Decedent informed them that he believed they did not but wanted to ‘fit in’ with the team.
  6          172.   Decedent agreed he would try to steer clear of Z.B. and ignore him.

  7          173.   Decedent also noted that Bond and Engblom were in earshot of the conversation with

  8 the captains, and that the captains were speaking to Decedent at the head coach’s behest.
  9          174.   Later that week, on February 27, 2020, Decedent was still rowing in the fourth boat
 10 with the less-competitive rowers when he and Z.B. got into another verbal altercation regarding the
 11 boat lineups. Decedent attempted to “stay away” from Z.B. and aimed to row in a different boat for
 12 that practice, in accordance with the coaches’ directives. Z.B. eventually won the argument and
 13 rowed in the same boat as Decedent.
 14          175.   Toward the end of the contentious practice on February 27, 2020, Bond ordered

 15 Decedent and Z.B. to stand together in front of the team. Bond berated Decedent in front of the
 16 team, along with Z.B., and treated them as equally detrimental to the team. The head coach shouted,
 17 “Front and center! This is it! If the two of you can’t get along, you’ll both be kicked off the team.
 18 Do I make myself clear?!” Decedent responded in the affirmative, but the coach’s grouping him
 19 with the accused sex offender and threatening to throw him off the team took its toll.
 20          176.   Decedent’s mental health continued to deteriorate as Bond continued to berate him

 21 in this fashion and kept Decedent in the fourth boat despite his rowing abilities and erg scores
 22 warranting his placement in one of the top three varsity boats.
 23          177.   After being berated by Bond at the February 27, 2020, practice, Decedent met with

 24 a counselor who worked for CAPS, a mental health clinic at UCSD.
 25          178.   Decedent was suffering immensely from a mental health perspective; he was

 26 constantly thinking about the “situation” on the rowing team and doubting his decisions. He stated
 27 he would have quit Bond’s team by that point, but rowing meant too much to him and he did not
 28 want to let the “situation” with Z.B., and Bond get in the way of his own aspirations. Decedent
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  1 decided to avoid Z.B. and continue on the rowing team, despite the negative effect it was having on
  2 his well-being.
  3          179.     On March 3, 2020, Decedent received an email from Bond, with McGann copied,

  4 regarding Decedent and Z.B.’s conflicts at practice and Decedent’s subsequent conversation with
  5 Bond. The coach implored Decedent to “play nice” with Z.B., and that “any further conflict with
  6 [Decedent] would result in removal of both of you from the team. I am sure you can bring courtesy
  7 and professionalism to any necessary interactions with [Z.B.] and expect you to do so.”
  8          180.     The adverse conduct persisted through the final month of in-person learning at

  9 UCSD.
 10          181.     On or about March 4, 2020, the rowers participated in a 2k meter erg test on the

 11 rowing machines. Decedent was unhappy with his erg score and was speaking to his good friend,
 12 and roommate (“P.K”), in the snack room at the Spanos Training Facility.
 13          182.     Decedent, speaking privately to P.K., stated he was unhappy with his rowing time,

 14 but felt he would do better next time since, Decedent posited, he had not been able to do an accurate
 15 2k predictor session prior to the March 4th test.
 16          183.     Decedent was clearly taking accountability for his failure to practice the 2k prior to

 17 March 4, 2020. Bond appeared suddenly and abruptly asked Decedent, “So it’s the training plan
 18 you’re saying?!”
 19          184.     Bond then stormed off. Decedent followed to explain himself and appease Bond.

 20          185.     After Decedent left the snack room, Bond returned, stared right at P.K. and snarled,

 21 “I would be very careful who you associate with at this point in the process. You get that?! That
 22 kid has one foot out the fucking door!” The coach then stormed out.
 23          186.     Bond was aware that P.K. and Decedent were extremely close roommates, so the

 24 message would obviously get back to Decedent as intended. Further, Bond was aware that P.K.,
 25 like other freshmen “homies” of Decedent, had concerns about Z.B. and the allegations against him.
 26 The coach was therefore attempting to intimidate P.K., and any other rowers, who might be inclined
 27 to question the coaches’ failure to report the allegations as Responsible Employees of UCSD.
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  1          187.    Bond’s indifference to the well-being of his rowers would continue thru the Covid-

  2 19 pandemic. On March 12, 2020, for example, after the great majority of schools, NCAA programs
  3 and professional sports teams were shutting down for the pandemic, Bond sent a threatening email
  4 to have his rowers meet the following morning March 13, 2020, for practice.
  5          188.    Shortly after Bond’s email to his team, the NCAA suspended activities across all

  6 sports programs until further notice.
  7          189.    Decedent returned home to New York in March 2020.

  8          190.     Decedent told his close friends and former coaches of the abuse he suffered from his

  9 coaches, but largely kept the pain, confusion, and shame he was experiencing to himself, opting to
 10 avoid “bothering” his friends and family with the problems that, he felt, paled in comparison to the
 11 devastation wrought by the global pandemic.
 12          191.    In April of 2020, Decedent filled out an allegedly anonymous UCSD survey upon

 13 McGann’s request, to receive feedback from the men’s rowing team members. Decedent responded
 14 with twenty-three pages outlining Bond’s misconduct and referencing the blatant mishandling of
 15 the Title IX complaints against Z.B., namely Bond’s failure to report the allegations to Title IX as
 16 Responsible Employees as required by UCSD policy. Decedent’s survey response reiterated the
 17 concerns he shared on the phone with McGann weeks earlier.
 18          192.    Neither McGann, nor Edwards, nor any other supervisor at Defendant UCSD

 19 addressed the coaches’ failure to report the sexual misconduct allegations to Title IX, or their abuse,
 20 bullying, and harassment, including sexual harassment, by Bond, at any point in time.
 21          193.    Decedent was not the only member of the men’s rowing team to fill out the allegedly

 22 anonymous survey honestly. McGann was aware of the abuse by Bond and the mishandling of the
 23 Title IX allegations against Z.B., particularly the coaches’ failure to report same to Title IX office.
 24          194.     Similarly, Decedent was not the only member of the men’s rowing team to suffer

 25 from mental health issues as a result of being subjected to Bond’s abuse.
 26          195.    When he returned home to New York, Decedent struggled with his emotional well-
 27 being and, eventually, experienced mental illness. The struggles emerged as a direct result of being
 28 subjected to Bond’s severe, pervasive, objectively unreasonable harassment and abuse.
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  1          196.   After Decedent returned home to New York in mid-March, his mental health

  2 deteriorated and worsened in the months following as a direct result of Bond’s abuse.
  3          197.   Between March and July 2020, Decedent suffered from immense sadness, paranoia,

  4 and disorientation. Decedent was not enjoying his many interests, or life in general. Decedent
  5 brooded over the coaches’ protection of Z.B. and, conversely, their punishment of him for speaking
  6 out against this choice.
  7          198.   As these confusing, painful thoughts, and the effects of the coaches’ mistreatment,

  8 continued to weigh on Decedent, he failed to take care of himself and spiraled out of control. The
  9 recent Iron Man neglected to care for himself, skipping meals, workouts, and sleep. He self-
 10 medicated with drugs to escape as his mental health worsened.
 11          199.   On July 21, 2020, after several days without sleep and minimal food, Decedent’s

 12 fear, paranoia, and delusions reached dangerous levels.
 13          200.   Prior to attending UCSD, Decedent was a healthy, happy young man. Less than one

 14 year with Bond caused Decedent’s mental health to deteriorate to the point of schizophrenia and a
 15 psychotic episode, necessitating hospitalization for in-patient mental health treatment.
 16          201.   Decedent underwent intensive therapy and drug treatment, including medication to

 17 control the symptoms, emotional pain, psychosis, and schizophrenia caused by the abuse he suffered
 18 at UCSD.
 19          202.   Decedent extensively discussed Bond, the “abusive” coach who was “fired from

 20 Penn,” as well as the team’s harboring a “sexual predator” rowing teammate.
 21          203.   With the help of treatment providers and his family, Decedent reached a stable place

 22 toward the end of 2020, with his mental health struggles seemingly under control.
 23          204.   As such, Decedent returned to UCSD in late December 2020, with plans to continue

 24 therapy on an outpatient basis. Armed with this therapy, Decedent felt he was prepared to deal with
 25 the issues created by Bond and all the Defendants. Tragically, Decedent was mistaken.
 26          205.   After Decedent returned to campus in December 2020, Bond continued to act in a
 27 retaliatory manner against Decedent. It was the last month of his young life.
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  1          206.   On or about December 16, 2020, the coach emailed Decedent to ask if he was

  2 committed to the UCSD rowing team or, alternatively, whether he was opting out for the upcoming
  3 Spring 2021 season.
  4          207.   One week later, on or about December 23, 2020, Decedent informed the coach that

  5 he was opting out of the upcoming rowing season, citing Covid-19 restrictions. Decedent’s choice
  6 to take care of himself, and avoid the intense stress of rowing for UCSD, was difficult for him to
  7 make. He waited for a reassuring response from Bond, but decedent never received one. Bond
  8 continued his emotional exile of Decedent, as the familiar stress returned to haunt Decedent.
  9          208.   Bond continued to ignore Decedent as 2020 ended. The coach was aware Decedent
 10 was still overcoming severe mental health issues they themselves created. The emotional exile, and
 11 resultant loneliness, enveloped Decedent as he entered 2021.
 12          209.   On January 4, 2021, Decedent took his own life.

 13                                     PLAINTIFF’S DAMAGES

 14          210.   As a direct and proximate result of Defendants’ unconstitutional, illegal, and

 15 improper retaliatory conduct, Decedent suffered the worst possible fate, a wrongful death by his
 16 own hands, caused by Defendants.
 17          211.   As a direct and proximate result of Defendants’ conduct Decedent suffered from

 18 immense sadness, paranoia, and disorientation, as well as related psychosis, self-medication,
 19 sleeplessness, low appetite, fear, paranoia, and delusions, fear of persecution, suicidal ideation,
 20 extreme emotional distress for which he required in-patient treatment and medication, and
 21 unthinkable anguish which eventually caused Decedent to tragically take his own life.
 22          212.   As a direct and proximate result of the above unlawful and retaliatory conduct by

 23 Defendants, Plaintiff sustained damages, including, without limitation, pain, suffering and extreme
 24 emotional distress as described above, as well as loss of enjoyment of life, loss of companionship
 25 and related economic injuries and other direct and consequential damages.
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  1                                        CLAIMS FOR RELIEF

  2                            AS AND FOR A FIRST CAUSE OF ACTION

  3              Violation of Title IX of the Education Amendments of 1972 Retaliation

  4                        (Against Board of Regents of University of California)

  5          213.    Plaintiffs repeat and reallege each and every allegation hereinabove as if fully set
  6 forth herein.
  7          214.    Title IX of the Education Amendments of 1972 provides, in relevant part: “No person
  8 in the United States shall, on the basis of sex, be excluded from participation in, be denied the
  9 benefits of, or be subjected to discrimination under any education program or activity receiving
 10 Federal financial assistance.” 20 U.S.C. §1681(a).
 11          215.    Title IX of the Education Amendments of 1972 applies to all public and private
 12 educational institutions that receive federal funding, including UCSD.
 13          216.    On information and belief, UCSD receives federal funding, including in the form of
 14 federal student loans given to students and is subject to the provisions of Title IX.
 15          217.    Title IX is enforceable through a private right of action.
 16          218.    Both the Department of Education and the Department of Justice have promulgated
 17 regulations under Title IX that require a school to “adopt and publish grievance procedures
 18 providing for the prompt and equitable resolution of student…complaints alleging any action which
 19 would be prohibited by” Title IX or regulations thereunder. 34 C.F.R. § 106.8(b) (2018); 28 C.F.R.
 20 § 54.135(b) (2018).
 21          219.    As reflected in such grievance procedures, and the law pertaining to Title IX,
 22 Retaliation against a person because they are asserting their rights under Title IX, or otherwise
 23 reporting sexual misconduct, is also prohibited.
 24          220.    Retaliation is any adverse action against a person based on their report or other
 25 disclosure of alleged prohibited conduct under the UCSD sexual misconduct policy to a university
 26 employee, or their participation in, refusal to participate in, or assistance with the investigation,
 27 reporting, remedial, or disciplinary processes provided for in the policy.
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  1          221.   An adverse action is conduct that would discourage a reasonable person from

  2 reporting prohibited sexual misconduct or participating in a process provided for in the UCSD
  3 sexual misconduct policy, such as threats, intimidation, harassment, discrimination, and coercion.
  4          222.   Bond engaged in a series of adverse actions against Decedent for his repeated

  5 disclosure of Z.B.’s prohibited conduct against UCSD students, including members of the female
  6 rowing team, to the coaches, university employees, and for Decedent’s questioning the Responsible
  7 Employees’ failure to report to encourage them to do so.
  8          223.   The adverse actions undertaken by Bond were made in direct response to Decedent

  9 disclosing sexual misconduct allegations to the coaches and urging them to report said allegations
 10 to the OPHD Title IX Office at UCSD. The adverse actions were done to expressly discourage
 11 Decedent, Decedent’s ‘homies’ on the rowing team and other reasonable people from formally
 12 reporting, or otherwise disclosing the allegations against Z.B. The adverse actions included without
 13 limitation:
 14                 a.      Subjecting Decedent, and other rowing team members, to more frequent and

 15                         severe bullying, and verbal abuse consisting of personal attacks, sexually

 16                         charged insults and mind games that were detrimental to the student athlete’s

 17                         well-being. The targeted bullying and verbal abuse of Decedent by Bond

 18                         included sexually inappropriate insults lodged at Decedent, calling him a

 19                         “pussy,” as well as loudly questioning Decedent’s “manliness,” “testicular”

 20                         fortitude, and insufficient “testosterone levels;” Bond attacked Decedent’s

 21                         integrity, character, and mental make-up, as he called the teenager weak,

 22                         untrustworthy, and immature, then unfairly challenged Decedent’s dedication

 23                         to the rowing team. Bond considered Decedent’s legitimate concerns with the

 24                         head coach’s indifference to the mounting allegations against Z.B. as

 25                         insubordination and treason, so the challenges were mounted to tarnish

 26                         Decedent’s reputation with the team.
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  1             b.    Bond made frequent “fat” jokes at Decedent’s expense, like publicly

  2                   chastising a coxswain for being “a fat coxswain--someone who goes over the

  3                   coaches like [Decedent]! We already have a fat [Decedent]! Don’t be a fat

  4                   [Decedent]! Fat [Decedent] goes above his coach’s head and talks shit!”

  5                   Bond often called Decedent fat, mocking his childhood obesity, and focusing

  6                   on Decedent’s weight as problematic, in general, because he knew Decedent

  7                   was sensitive about his weight from middle school when he gained thirty plus

  8                   pounds due to Juvenile Rheumatoid Arthritis.

  9             c.    Bond explicitly told Decedent he should not report the sexual misconduct
 10                   allegations against Z.B. He derisively told Decedent he “and his homies

 11                   should act as if nothing is wrong” with Z.B., claiming the coaches were

 12                   handling it. Bond also attempted to scare Decedent into silence, claiming

 13                   Z.B. was “dangerous” and had the ability to seriously hurt the rowing team

 14                   with the pictures of hazing he possessed from “Freshmen Week.”

 15             d.    Decedent, and his homies (fellow concerned freshmen rowers), were directed

 16                   to “stay away” from Z.B., ignore Z.B. and treat him with professional

 17                   courtesy. They received these directives from Bond, Engblom, and the team

 18                   captains at the head coach’s urging, in response to Decedent’s disclosing the

 19                   increasing number of sexual misconduct allegations and Decedent’s bravely

 20                   questioning the coaches’, and captains’, failure to report said allegations

 21                   against Z.B.

 22             e.    After Decedent persisted in his disclosing, and encouraging reporting of, the

 23                   mounting allegations of sexual misconduct by Z.B., Bond and Engblom lied

 24                   to him to appear compliant as Responsible Employees after months of

 25                   mounting allegations went unreported; Bond told Decedent the coaches’

 26                   reported the sexual misconduct allegations to the appropriate channels and,
 27                   again, warned Decedent to stay away from Z.B.

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  1             f.    Shortly after Bond lied to Decedent, McGann called Decedent and told him

  2                   not to investigate the claims against Z.B. himself. The Assistant Athletic

  3                   Director then told Decedent an investigation was in progress, which belied

  4                   Bond’s false claims of reporting the Title IX allegations to the appropriate

  5                   channels at UCSD.

  6             g.    Bond also threatened to kick Decedent off the team if he could not treat Z.B.

  7                   with respect and professional courtesy. Similarly, Bond lumped Decedent

  8                   and Z.B. together when the tension caused by Z.B.’s multiple allegations of

  9                   sexual misconduct, Bond’s unjustly relegating Decedent to the fourth boat
 10                   and Decedent’s repeated disclosure of the allegations to his coaches, as

 11                   Responsible Employees at UCSD, resulted in heated disputes between

 12                   Decedent and Z.B. Bond treated Decedent and Z.B. as equally detrimental

 13                   to the rowing team and berated them publicly in front of the entire rowing

 14                   team.

 15             h.    Bond threatened the 19-year-old teenager Decedent with his “attorney”

 16                   father, suggesting Decedent could be sued if he continued to question Bond’s

 17                   failure to report Z.B.’s alleged misconduct and the teams’ collective lack of

 18                   integrity for condoning the sexual misconduct.

 19             i.    Bond directed a temper tantrum at Decedent, and stormed off in mock

 20                   outrage, at a perceived criticism of the training program. This childish drama

 21                   was immediately followed by Bond screaming at Decedent’s dear friend and

 22                   teammate, P.K., in the training center snack room after practice. Bond

 23                   shouted angrily at PK, in front of other rowers, threatening PK should be

 24                   careful who he associated with because “[Decedent] had one foot out the

 25                   fucking door!”

 26             j.    Decedent was treated as if he was heading “out the door” when the coaches
 27                   physically banished him from the varsity team boats (boats 1-3). Decedent

 28                   was forced to practice with the fourth boat, the less competitive group, whom

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  1                         Bond paid little to no attention to. Decedent was stuck with the weaker

  2                         rowers, including Z.B., in their fourth boat, despite frequent warnings to “stay

  3                         away” from Z.B. Bond’s relegation of Decedent to the noncompetitive boat

  4                         was punishment for disclosing the mounting sexual misconduct allegations

  5                         against Z.B. and raising his concerns of the coaches’ failure to report same.

  6                         By downgrading Decedent’s boat position and inexplicably moving

  7                         Decedent to the fourth boat, when his erg scores and other factors merited, he

  8                         remain in one of the top three varsity boats, the Coaches were dissuading

  9                         Decedent, and his homies, from reporting the allegations against Z.B. The
 10                         physical banishment was only part of the exile inflicted upon Decedent.

 11                 k.      Decent experienced frequent emotional exile, by Bond, as well as the

 12                         coaches, captains, and upper classmen he controlled; he was also called a

 13                         traitor and treated as a pariah, because he spoke out against the team’s failure

 14                         to report the Title IX allegations against Z.B. Bond poisoned the student

 15                         athletes’ perception of Decedent, accusing him of disloyalty and

 16                         insubordinate conduct detrimental to the team. The social ostracism wore

 17                         greatly on Decedent and would continue through the covid-19 pandemic

 18                         through Decedent’s returning to UCSD, post-hospitalization and in-patient

 19                         treatment, in December 2020. Decedent emailed Bond to advise he would be

 20                         opting out for the Spring 2021 semester due to health concerns (citing covid-

 21                         19). Decedent did not receive a response from Bond, as the continued radio

 22                         silence and deliberate cold shoulder of the head coach served as the final

 23                         indignity to the vulnerable Decedent.

 24          224.   As a direct and proximate result of Defendants’ conduct Decedent suffered from

 25 immense sadness, paranoia, and disorientation, as well as related schizophrenia, psychosis, self-
 26 medication, sleeplessness, low appetite, fear, paranoia, and delusions, fear of persecution, suicidal
 27 ideation, extreme emotional distress for which he required in-patient treatment and medication, and
 28 unthinkable anguish which eventually caused Decedent to tragically take his own life.
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  1          225.   As a direct and proximate result of the above unlawful and retaliatory conduct by

  2 Defendants, Plaintiff sustained damages, including, without limitation, pain, suffering and extreme
  3 emotional distress as described above, as well as loss of enjoyment of life, loss of companionship
  4 and related economic injuries and other direct and consequential damages.
  5          226.   The adversarial conduct towards Decedent, by Bond, as well as the rowing team

  6 coaches, captains and upper classmen under his control, was done in retaliation for his pushing the
  7 team leaders to report allegations of Z.B.’s prohibited sexual misconduct and Decedent’s
  8 questioning Defendants’ lack of response for same.
  9          227.   Said adversarial conduct, the frequent mean-spirited insults, mind games, unfair
 10 relegation of Decedent off the varsity boats and the emotional exile, caused Decedent to experience
 11 severe deterioration of his mental health over months culminating in a psychotic episode and
 12 diagnosis of schizophrenia, which necessitated intensive, in-patient mental health treatment. The
 13 targeted abuse and retaliation launched by Bond ultimately caused Decedent to tragically take his
 14 own life.
 15          228.   As a result of Defendants’ retaliation in violation of Title IX, Plaintiffs continue to

 16 suffer ongoing harm, including pain, suffering and emotional anguish as well as other non-economic
 17 and economic damages.
 18          229.   As a result, Plaintiff is entitled to damages in an amount to be determined at trial,

 19 plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements, as well as injunctive
 20 relief directing UCSD.
 21                          AS AND FOR A SECOND CAUSE OF ACTION

 22        42 U.S.C. §1983: Violation of Fourteenth Amendment–Denial of Equal Protection

 23                                   Hostile Education Environment

 24                                       (Against All Defendants)

 25          230.   Plaintiffs repeat and reallege each and every allegation hereinabove as if fully set

 26 forth herein.
 27          231.   In addition to the rights and protected interests discussed herein, a person has an

 28 equal protection right to an educational environment free of hostility. A hostile education
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  1 environment is present when a person subjectively perceives the environment as hostile or abusive,
  2 and the environment is objectively hostile and abusive, permeated with discriminatory intimidation,
  3 ridicule, and insult…that is sufficiently severe or pervasive to alter the conditions of the person’s
  4 educational environment. See Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 65 (1986).
  5          232.    Decedent reasonably perceived the above-described environment at UCSD as hostile

  6 and abusive from October 2019, until he tragically took his own life at UCSD on January 4, 2021,
  7 as a result of the hostility.
  8          233.    The hostility and abuse originated from Bond, and certain coaches and team

  9 members under the bully coaches’ charge, including team captains and other upper classmen rowers.
 10          234.    The hostility and abuse increased dramatically, in severity and frequency, after

 11 Decedent reported and commented on the Title IX complaints lodged against Z.B., as Bond took
 12 adverse actions directly against Decedent as described in the First Cause of Action.
 13          235.    The hostility and abuse described herein included, but was not limited to, the

 14 following:
 15                  a.      Subjecting Decedent, and other rowing team members, to more frequent and

 16                          severe bullying and verbal abuse consisting of personal attacks, sexually

 17                          charged insults and mind games that were detrimental to the student athlete’s

 18                          well-being. The targeted bullying and verbal abuse of Decedent by Bond

 19                          included sexually inappropriate insults lodged at Decedent, calling him a

 20                          “pussy,” as well as loudly questioning Decedent’s “manliness”, “testicular”

 21                          fortitude, and insufficient “testosterone levels;” Bond attacked Decedent’s

 22                          integrity, character, and mental make-up, as he called the teenager weak,

 23                          untrustworthy and immature, then unfairly challenged Decedent’s dedication

 24                          to the rowing team. Bond considered Decedent’s legitimate concerns with the

 25                          head coach’s indifference to the mounting allegations against Z.B. as

 26                          insubordination and treason, so the challenges were mounted to tarnish
 27                          Decedent’s reputation with the team.

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  1             b.    Bond made frequent “fat” jokes at Decedent’s expense, like publicly

  2                   chastising a coxswain for being “a fat coxswain--someone who goes over the

  3                   coaches like [Decedent]! We already have a fat [Decedent]! Don’t be a fat

  4                   [Decedent]! Fat [Decedent] goes above his coach’s head and talks shit!”

  5                   Bond often called Decedent fat, mocking his childhood obesity, and focusing

  6                   on Decedent’s weight as problematic, in general, because he knew Decedent

  7                   was sensitive about his weight from middle school when he gained thirty plus

  8                   pounds due to Juvenile Rheumatoid Arthritis.

  9             c.    Bond played frequent mind games with Decedent, purposely confusing him,
 10                   and causing him physical pain. The coaches encouraged Decedent to train

 11                   hard, to excess and past the point of exhaustion, until he vomited on multiple

 12                   occasions. Then, after glorifying the unhealthy practice and deliberately

 13                   enticing the eager-to-please teenager to vomit to prove himself to his coaches,

 14                   Bond and Engblom laughed at Decedent informing him “puking was for

 15                   pussies.”

 16             d.    Bond explicitly told Decedent he should not report the sexual misconduct

 17                   allegations against Z.B. He derisively told Decedent he “and his homies

 18                   should act as if nothing is wrong” with Z.B., claiming the coaches were

 19                   handling it. Bond also attempted to scare Decedent into silence, claiming

 20                   Z.B. was “dangerous” and had the ability to seriously hurt the rowing team

 21                   with the pictures of hazing he possessed from “Freshmen Week.”

 22             e.    Decedent, and his homies (fellow concerned freshmen rowers), were directed

 23                   to “stay away” from Z.B., ignore Z.B. and treat him with professional

 24                   courtesy. They received these directives from Bond, Engblom, and the team

 25                   captains at the coaches’ urging, in response to Decedent’s disclosing the

 26                   increasing number of sexual misconduct allegations and Decedent’s bravely
 27                   questioning the coaches’, and captains’, failure to report said allegations

 28                   against Z.B.

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  1             f.    After Decedent persisted in his disclosing, and encouraging reporting of, the

  2                   mounting allegations of sexual misconduct by Z.B., Bond lied to him to

  3                   appear compliant as Responsible Employees after months of mounting

  4                   allegations went unreported; Bond told Decedent the coaches’ reported the

  5                   sexual misconduct allegations to the appropriate channels and, again, warned

  6                   Decedent to stay away from Z.B.

  7             g.    Shortly after Bond lied to Decedent, McGann called Decedent and told him

  8                   not to investigate the claims against Z.B. himself. The Assistant Athletic

  9                   Director then told Decedent an investigation was in progress, which belied
 10                   Bond’s false claims of reporting the Title IX allegations to the appropriate

 11                   channels at UCSD.

 12             h.    Bond also threatened to kick Decedent off the team if he could not treat Z.B.

 13                   with respect and professional courtesy. Similarly, Bond lumped Decedent

 14                   and Z.B. together when the tension caused by Z.B.’s multiple allegations of

 15                   sexual misconduct, Bond’s unjustly relegating Decedent to the fourth boat

 16                   and Decedent’s repeated disclosure of the allegations to his coaches, as

 17                   Responsible Employees at UCSD, resulted in heated disputes between

 18                   Decedent and Z.B. Bond treated Decedent and Z.B as equally detrimental to

 19                   the rowing team and berated them publicly in front of the entire rowing team.

 20             i.    Bond threatened the 19-year-old teenager Decedent with his “attorney”

 21                   father, suggesting Decedent could be sued if he continued to question Bond’s

 22                   failure to report Z.B.’s alleged misconduct and the teams’ collective lack of

 23                   integrity for condoning the sexual misconduct.

 24             j.    Bond directed a temper tantrum at Decedent, and stormed off in mock

 25                   outrage, at a perceived criticism of the training program. This childish drama

 26                   was immediately followed by Bond screaming at Decedent’s dear friend and
 27                   teammate, P.K., in the training center snack room after practice. Bond

 28                   shouted angrily at P.K., in front of other rowers, threatening P.K. should be

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  1                   careful who he associated with because “[Decedent] had one foot out the

  2                   fucking door!”

  3             k.    Decedent was treated as if he was heading “out the door” when the coaches

  4                   physically banished him from the varsity team boats (boats 1-3). Decedent

  5                   was forced to practice with the fourth boat, the less competitive group, whom

  6                   Bond paid little to no attention to. Decedent was stuck with the weaker

  7                   rowers, including Z.B., in their fourth boat, despite frequent warnings to “stay

  8                   away” from Z.B. Bond’s relegation of Decedent to the noncompetitive boat

  9                   was clearly punishment for disclosing the mounting sexual misconduct
 10                   allegations against Z.B. and raising his concerns of the coaches’ failure to

 11                   report same. By downgrading Decedent’s boat position and inexplicably

 12                   moving Decedent to the fourth boat, when his erg scores and other factors

 13                   merited, he remains in one of the top three varsity boats where he had

 14                   belonged since he started rowing for UCSD, the Coaches were dissuading

 15                   Decedent, and his homies, from reporting the allegations against Z.B. The

 16                   physical banishment was only part of the exile inflicted upon Decedent.

 17             l.    Decent experienced frequent emotional exile, by Bond, as well as the

 18                   coaches, captains, and upper classmen he controlled; he was also called a

 19                   traitor and treated as a pariah, because he spoke out against the team’s failure

 20                   to report the Title IX allegations against Z.B. Bond poisoned the student

 21                   athletes’ perception of Decedent, accusing him of disloyalty and

 22                   insubordinate conduct detrimental to the team. The social ostracism wore

 23                   greatly on Decedent and would continue through the covid-19 pandemic

 24                   through Decedent’s returning to UCSD, post-hospitalization and in-patient

 25                   treatment, in December 2020. Decedent emailed Bond to advise he would be

 26                   opting out for the Spring 2021 semester due to health concerns (citing covid-
 27                   19). Decedent did not receive a response from Bond, as the continued silence

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  1                          and deliberate cold shoulder of the head coach served as the final indignity to

  2                          the vulnerable Decedent.

  3          236.    The constant abuse and hostility, on the part Bond, and those under his control,

  4 caused Decedent to suffer severe mental health struggles, seek intensive, inpatient mental health
  5 treatment, as described in detail herein, and ultimately caused Decedent to tragically take his own
  6 life.
  7          237.    The hostile environment at UCSD affected Decedent to the point that it caused him

  8 to tragically take his own life upon returning to campus.
  9          238.    Defendants failed to provide Decedent with the equal protection and freedom from a
 10 hostile educational environment that they were required to provide students at their state university.
 11          239.    Defendants, as well as other agents, representatives, and employees of UCSD were

 12 acting under color of state law when they showed intentional, outrageous, and reckless disregard for
 13 the constitutional rights of the Plaintiffs and Plaintiffs’ Decedent.
 14          240.    As a result of these due process and equal protection violations, Plaintiffs continue

 15 to suffer ongoing harm, including pain, suffering and emotional anguish as well as other non-
 16 economic and economic damages.
 17          241.    As a direct and proximate result of Defendants’ conduct Decedent suffered from

 18 immense sadness, paranoia, and disorientation, as well as related schizophrenia, psychosis, self-
 19 medication, sleeplessness, low appetite, fear, and delusions, fear of persecution, suicidal ideation,
 20 extreme emotional distress for which he required in-patient treatment and medication, and
 21 unthinkable anguish which eventually caused Decedent to tragically take his own life.
 22          242.    As a direct and proximate result of the above unlawful and retaliatory conduct by

 23 Defendants, Plaintiffs sustained damages, including, without limitation, pain, suffering and
 24 extreme emotional distress as described above, as well as loss of enjoyment of life, loss of
 25 companionship and related economic injuries and other direct and consequential damages.
 26          243.    Decedent was entitled to equal protection, freedom from discrimination and an
 27 educational environment free of hostility and abuse. Decedent was deprived of such equal
 28 protection, and freedom from the hostile educational environment that was and is UCSD.
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  1                           AS AND FOR A THIRD CAUSE OF ACTION

  2    42 U.S.C. §1983: Violation of Fourteenth Amendment– Denial of Substantive Due Process

  3                                        (Against All Defendants)

  4          244.    Plaintiffs repeat and reallege each and every allegation hereinabove as if fully set

  5 forth herein.
  6          245.    In addition to the rights and protected interests stated above, a person has a protected

  7 liberty interest in his bodily integrity. “Every violation of a person’s bodily integrity is an invasion
  8 of his or her liberty.” Washington v. Harper, 494 U.S. 210, 237 (1990). There are both “physical
  9 and intellectual” dimensions to that liberty. Id. “The invasion is particularly intrusive if it creates
 10 a substantial risk of permanent injury and premature death.” Id.
 11          246.    A decedent’s parents generally have the right to assert substantive due process claims

 12 under the Fourteenth Amendment, including for loss of companionship claims. See Wheeler v. City
 13 of Santa Clara, 894 F.3d 1046, 1057 (9th Cir. 2018).
 14          247.    The judicially enforceable Fourteenth Amendment interests “stem [] from the

 15 emotional attachments that derive from the intimacy of daily association, and from the role it plays
 16 in promoting a way of life through the instruction of children.” Wheeler 894 F.3d at 1058 quoting
 17 Lehr v. Robertson, 463 U.S. 248, 256-61 (1983).
 18          248.    Decedent had such a relationship with his parents, the Plaintiffs. Plaintiffs certainly

 19 developed the emotional attachments that derive from the intimacy of parenting and promoting a
 20 way of life through their instruction of Decedent.
 21          249.    Plaintiffs therefore assert a substantive due process claim for loss of companionship

 22 under the Fourteenth Amendment.
 23          250.    The constant abuse and hostility, on the part of Bond, and those acting at his direction

 24 and under his control, caused Decedent to suffer severe mental health struggles, seek intensive
 25 mental health treatment, as described herein, and ultimately caused Decedent to tragically take his
 26 own life.
 27          251.    The hostile environment at UCSD affected Decedent to the point that it caused him

 28 to tragically take his own life upon returning to campus.
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  1          252.    Defendants failed to provide Decedent with the due process, and freedom from a

  2 hostile educational environment, that they were required to provide Decedent as a student at their
  3 state university. In doing so, Defendants also deprived Plaintiffs due process, as parents of Decedent.
  4          253.    Defendants, as well as other agents, representatives, and employees of UCSD were

  5 acting under color of state law when they showed intentional, outrageous, and reckless disregard for
  6 the constitutional rights of Plaintiffs and Plaintiffs’ Decedent.
  7          254.    As a result of these due process and equal protection violations, Plaintiffs continue

  8 to suffer ongoing harm, including loss of companionship, pain, suffering and emotional anguish as
  9 well as other non-economic and economic damages.
 10          255.    As a direct and proximate result of Defendants’ conduct Decedent suffered from

 11 immense sadness, paranoia, and disorientation, as well as related schizophrenia, psychosis, self-
 12 medication, sleeplessness, low appetite, fear, and delusions, fear of persecution, suicidal ideation,
 13 extreme emotional distress for which he required in-patient treatment and medication, and
 14 unthinkable anguish which eventually caused Decedent to tragically take his own life.
 15          256.    As a direct and proximate result of the above unlawful and retaliatory conduct by

 16 Defendants, Plaintiff sustained damages, including, without limitation, pain, suffering and extreme
 17 emotional distress as described above, as well as loss of enjoyment of life, loss of companionship
 18 and related economic injuries and other direct and consequential damages.
 19                          AS AND FOR A FOURTH CAUSE OF ACTION

 20                                            Wrongful Death

 21                                        (Against All Defendants)

 22          257.    Plaintiffs repeat and reallege each and every allegation hereinabove as if fully set

 23 forth herein.
 24          258.    Bond bullied, harassed, and psychologically abused Decedent so thoroughly that

 25 Decedent, who never suffered from mental health issues before his freshman year, suffered from the
 26 worsening mental health, requiring treatment and medication, described herein. Decedent was
 27 unable to recover from these mental health issues and sadly took his own life upon
 28 returning to UCSD in January 2021.
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  1          259.    Bond’s conduct, and the hostile environment they created with their enablers, the

  2 remaining Defendants, directly caused the wrongful death of Decedent.
  3          260.    As a direct and proximate result of Defendants’ conduct, Decedent suffered from

  4 immense sadness, paranoia, and disorientation, as well as related schizophrenia, psychosis, self-
  5 medication, sleeplessness, low appetite, fear, delusions, fear of persecution, suicidal ideation,
  6 extreme emotional distress for which he required in-patient treatment and medication, and
  7 unthinkable anguish which eventually caused Decedent to tragically take his own life.
  8          261.    As a direct and proximate result of the above unlawful and retaliatory conduct by

  9 Defendants, Plaintiff sustained damages, including, without limitation, pain, suffering and extreme
 10 emotional distress as described above, as well as loss of enjoyment of life, loss of companionship
 11 and related economic injuries and other direct and consequential damages.
 12          262.    The constant abuse and hostility, on the part of Defendants, especially Bond, and

 13 those under his control, caused Decedent to suffer severe mental health issues, seek intensive mental
 14 health treatment, as described herein, and ultimately caused Decedent to tragically take his own life.
 15          263.    As a result of Defendants’ unlawful, unconstitutional misconduct in causing

 16 Decedent’s wrongful death, Plaintiffs continue to suffer ongoing harm, including loss of
 17 companionship, pain, suffering and emotional anguish as well as other non-economic and economic
 18 damages.
 19          264.    As a direct and proximate result of Defendants’ conduct Decedent suffered from

 20 immense sadness, paranoia, and disorientation, as well as related schizophrenia, psychosis, self-
 21 medication, sleeplessness, low appetite, fear, paranoia, and delusions, fear of persecution, suicidal
 22 ideation, extreme emotional distress for which he required in-patient treatment and medication, and
 23 unthinkable anguish which eventually caused Decedent to tragically take his own life.
 24          265.    As a direct and proximate result of the above unlawful and retaliatory conduct by

 25 Defendants, Plaintiff sustained damages, including, without limitation, pain, suffering and extreme
 26 emotional distress as described above, as well as loss of enjoyment of life, loss of companionship
 27 and related economic injuries and other direct and consequential damages.
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  1                           AS AND FOR A FIFTH CAUSE OF ACTION

  2                                           Negligent Hiring

  3      (Against UCSD, Board of Regents of University of California, McGann, and Edwards)

  4          266.   Plaintiffs repeat and reallege each and every allegation hereinabove as if fully set

  5 forth herein.
  6          267. Upon information and belief, McGann led the process that resulted in the hiring of

  7 Bond.
  8          268. Upon information and belief, McGann, as Associate Athletic Director, worked for and

  9 was supervised by Athletic Director Earl W. Edwards, who is responsible for the hiring of each
 10 employee, agent and coach working in UCSD athletics.
 11          269. McGann, upon information and belief, performed an insufficient background check

 12 into Bond and thus failed to uncover his abusive, inappropriate bullying of student-athletes who
 13 rowed for him at previous educational institutions.
 14          270. McGann either failed to uncover the rowers’ protest of Bond at UPenn which, upon

 15 information and belief, caused Bond to leave the coaching position at UPenn, or, alternatively, knew
 16 of the rowers’ protest and ignored same, before hiring Bond.
 17          271. In either instance, McGann did not obtain or utilize readily accessible information

 18 regarding Bond’s, prior abuse, bullying and harassment of rowers they ‘coached’ at previous
 19 destinations. Said information was easily accessible as Decedent, and many of his freshman
 20 teammates, were able to uncover the UPenn protest, and Bond’s inappropriate, unhealthy, and
 21 mentally unstable behavior, from associates across the country in the close-knit rowing community.
 22          272. McGann, and her supervisor Edwards, were therefore negligent in their hiring of

 23 Bond.
 24          273. Upon information and belief, McGann was a direct supervisor of Bond.

 25          274.   Edwards, as Athletic Director, is McGann’s supervisor and responsible for all

 26 employees within the Athletic Department at UCSD.
 27          275. McGann and Edwards were aware of the abuse, bullying, and harassment described

 28 herein, as well as the coaches’ failure to follow UCSD OPHD’s Title IX reporting protocols as
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  1 Responsible Employees.
  2          276. McGann and Edwards failed to discipline Bond and otherwise permitted the coach to

  3 terrorize and abuse the student athletes at UCSD.
  4          277. The negligent hiring, and supervision, of Bond, by McGann, Edwards and

  5 Defendants, resulted in the constant abuse and bullying of Decedent, and other rowing team
  6 members, by Bond and those under his control. This failure was a direct and proximate cause of
  7 Decedent’s newfound, severe mental health struggles, which caused Decedent to seek intensive
  8 mental health treatment, as described herein, and further caused Decedent to tragically take his own
  9 life.
 10          278. Defendants failed to perform a sufficient search for an appropriate coach of UCSD

 11 men’s rowing program and, instead, hired Bond without recognizing the clear, and obvious danger
 12 to which he exposed their student athletes.
 13          279. Defendants compounded the hiring failure by failing to appropriately supervise Bond,

 14 particularly McGann and Edwards as the coaches’ supervisors, as described further below.
 15          280. Defendants, including McGann and Edwards, owed Decedent, and all students, a duty

 16 to maintain a safe environment, free from the hostility, abuse, bullying, psychological warfare and
 17 retaliation described herein.
 18          281. Defendants owed UCSD students a safe environment, and had a duty to hire

 19 employees, agents, and coaches, who would maintain said safe environment as well.
 20          282. The negligence of Defendants, including McGann and Edwards, therefore contributed

 21 to the hostile educational environment described herein.
 22          283.   As a result of Defendants’, including McGann’s and Edwards’ negligence, negligent

 23 hiring and negligent supervision of Bond, Plaintiffs continue to suffer ongoing harm, including loss
 24 of companionship, pain, suffering and emotional anguish as well as other non-economic and
 25 economic damages.
 26          284. As a direct and proximate result of Defendants’ conduct, Decedent suffered from
 27 immense sadness, paranoia, and disorientation, as well as related psychosis, self-medication,
 28 sleeplessness, low appetite, fear, and delusions, fear of persecution, suicidal ideation, extreme
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  1 emotional distress for which he required in-patient treatment and medication, and unthinkable
  2 anguish which eventually caused Decedent to tragically take his own life.
  3          285. As a direct and proximate result of the above negligent, unlawful, and retaliatory

  4 conduct by Defendants, Plaintiff sustained damages, including, without limitation, pain, suffering
  5 and extreme emotional distress as described above, as well as loss of enjoyment of life, loss of
  6 companionship and related economic injuries and other direct and consequential damages.
  7                           AS AND FOR A SIXTH CAUSE OF ACTION

  8                                        Negligent Supervision

  9      (Against UCSD, Board of Regents of University of California, McGann, and Edwards)
 10          286.   Plaintiffs repeat and reallege each and every allegation hereinabove as if fully set

 11 forth herein.
 12          287. Upon information and belief, McGann led the process that resulted in the hiring of

 13 Bond.
 14          288. Upon information and belief, McGann, as Associate Athletic Director, worked for and

 15 was supervised by Athletic Director Earl W. Edwards.
 16          289. Upon information and belief, McGann was a direct supervisor of Bond.

 17          290. Upon information and belief, Edwards, as Athletic Director, was McGann’s

 18 supervisor and responsible for all employees within the Athletic Department at UCSD.
 19          291. McGann and Edwards were aware of the abuse, bullying, and harassment described

 20 herein, as well as the coaches’ failure to file UCSD OPHD’s Title IX reporting protocols as
 21 Responsible Employees.
 22          292. McGann and Edwards failed to discipline Bond and otherwise permitted the coach to

 23 terrorize and abuse the student athletes at UCSD, including Decedent.
 24          293. The negligent supervision of Bond, by McGann, Edwards and remaining Defendants,

 25 resulted in the constant abuse and bullying of Decedent, and other rowing team members, by Bond,
 26 and those under his control. This failure was a direct and proximate cause of Decedent’s newfound,
 27 severe mental health struggles, which caused Decedent to seek intensive mental health treatment, as
 28 described herein, and, further, caused Decedent to tragically take his own life.
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  1          294. Defendants failed to perform a sufficient search for an appropriate coach of UCSD

  2 men’s rowing program and, instead, hired Bond without recognizing the clear, and obvious danger
  3 to which they exposed their student athletes.
  4          295. Defendants compounded the hiring failure by failing to appropriately supervise Bond.

  5 McGann and Edwards, as the coaches’ supervisors, willfully ignored Bond’s abusive tactics,
  6 harassment and bullying as well as both coaches’ ignoring their duties as Responsible Employees
  7 who were required to report the allegations of sexual misconduct against Z.B.
  8          296. Defendants, including McGann and Edwards, owed Decedent, and all students, a duty

  9 to maintain a safe environment, free from the hostility, abuse, bullying, psychological warfare and
 10 retaliation described herein. Defendants owed UCSD students a safe environment, and had a duty
 11 to supervise UCSD employees, agents, and coaches, to ensure the employees, agents and coaches
 12 maintain said safe environment as well.
 13          297. The negligence of Defendants, including McGann and Edwards, therefore contributed

 14 to the hostile educational environment described herein.
 15          298.   As a result of Defendants’, including McGann’s and Edwards’ negligence, negligent

 16 hiring and negligent supervision of Bond, Plaintiffs continue to suffer ongoing harm, including loss
 17 of companionship, pain, suffering and emotional anguish as well as other non-economic and
 18 economic damages.
 19          299.   As a direct and proximate result of Defendants’ conduct, Decedent suffered from

 20 immense sadness, paranoia, and disorientation, as well as related psychosis, self-medication,
 21 sleeplessness, low appetite, fear, paranoia, and delusions, fear of persecution, suicidal ideation,
 22 extreme emotional distress for which he required in-patient treatment and medication, and
 23 unthinkable anguish which eventually caused Decedent to tragically take his own life.
 24          300.   As a direct and proximate result of the above negligent, unlawful, and retaliatory

 25 conduct by Defendants, Plaintiff sustained damages, including, without limitation, pain, suffering
 26 and extreme emotional distress as described above, as well as loss of enjoyment of life, loss of
 27 companionship and related economic injuries and other direct and consequential damages.
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  1                                    PRAYER FOR RELIEF

  2        WHEREFORE, for the foregoing reasons, Plaintiff’s demand judgment against Defendants

  3 as follows:
  4               (i)    On the first cause of action for Violation of Title IX of the Education

  5                      Amendments of 1972 Retaliation, et. al., a judgment against University of

  6                      California San Diego, Board of Regents of University of California, Geoff

  7                      Bond, Katie McGann and Earl W. Edwards, awarding Plaintiffs damages in

  8                      an amount to be determined at trial, plus punitive damages, prejudgment

  9                      interest, attorneys’ fees, expenses, costs and disbursements, as well as
 10                      injunctive relief directing University of California San Diego, Board of

 11                      Regents of University of California, Geoff Bond, Katie McGann and Earl W.

 12                      Edwards to terminate Geoff Bond, Katie McGann and Earl W. Edwards and

 13                      prevent them from employment within the University of California system

 14                      and declare all the individual defendants as a danger to the University of

 15                      California students and community;

 16               (ii)   On the second cause of action for Violation of 42 U.S.C. § 1983 Equal

 17                      Protection Clause Hostile Education Environment, et. al., a judgment against

 18                      University of California San Diego, Board of Regents of University of

 19                      California, Geoff Bond, Katie McGann and Earl W. Edwards, awarding

 20                      Plaintiffs damages in an amount to be determined at trial, plus punitive

 21                      damages, prejudgment interest, attorneys’ fees, expenses, costs and

 22                      disbursements, as well as injunctive relief directing University of California

 23                      San Diego, Board of Regents of University of California, Geoff Bond, Katie

 24                      McGann and Earl W. Edwards to terminate Geoff Bond, Katie McGann and

 25                      Earl W. Edwards and prevent them from employment within the University

 26                      of California system and declare all the individual defendants as a danger to
 27                      the University of California students and community;

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  1             (iii)   On the third cause of action for Violation of 42 U.S.C. § 1983 Substantive

  2                     Due Process, et. al., a judgment against University of California San Diego,

  3                     Board of Regents of University of California, Geoff Bond, Katie McGann

  4                     and Earl W. Edwards, awarding Plaintiff damages in an amount to be

  5                     determined at trial, plus punitive damages, prejudgment interest, attorneys’

  6                     fees, expenses, costs and disbursements, as well as injunctive relief directing

  7                     University of California San Diego, Board of Regents of University of

  8                     California, Geoff Bond, Katie McGann and Earl W. Edwards to terminate

  9                     Geoff Bond, Katie McGann and Earl W. Edwards and prevent them from
 10                     employment within the University of California system and declare all the

 11                     individual defendants as a danger to the University of California students and

 12                     community;

 13             (iv)    On the fourth cause of action for Wrongful Death, et. al., a judgment against

 14                     University of California San Diego, Board of Regents of University of

 15                     California, Geoff Bond, Katie McGann and Earl W. Edwards, awarding

 16                     Plaintiffs damages in an amount to be determined at trial, plus punitive

 17                     damages, prejudgment interest, attorneys’ fees, expenses, costs and

 18                     disbursements, as well as injunctive relief directing University of California

 19                     San Diego, Board of Regents of University of California, Geoff Bond, Katie

 20                     McGann and Earl W. Edwards to fire Geoff Bond, Katie McGann and Earl

 21                     W. Edwards and prevent them from employment within the University of

 22                     California system and declare all the individual defendants as a danger to the

 23                     University of California students and community;

 24             (v)     On the fifth cause of action for Negligent Hiring, et. al., a judgment against

 25                     University of California San Diego, Board of Regents of University of

 26                     California, Geoff Bond, Katie McGann and Earl W. Edwards, awarding
 27                     Plaintiffs damages in an amount to be determined at trial, plus punitive

 28                     damages, prejudgment interest, attorneys’ fees, expenses, costs and

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  1                     disbursements, as well as injunctive relief directing University of California

  2                     San Diego, Board of Regents of University of California, Geoff Bond, Katie

  3                     McGann and Earl W. Edwards to terminate Geoff Bond, Katie McGann and

  4                     Earl W. Edwards and prevent them from employment within the University

  5                     of California system and declare all the individual defendants as a danger to

  6                     the University of California students and community;

  7             (vi)    On the sixth cause of action for Negligent Supervision, et. al., a judgment

  8                     against University of California San Diego, Board of Regents of University

  9                     of California, Geoff Bond, Katie McGann and Earl W. Edwards, awarding
 10                     Plaintiffs damages in an amount to be determined at trial, plus punitive

 11                     damages, prejudgment interest, attorneys’ fees, expenses, costs and

 12                     disbursements, as well as injunctive relief directing University of California

 13                     San Diego, Board of Regents of University of California, Geoff Bond, Katie

 14                     McGann and Earl W. Edwards to fire Geoff Bond, Katie McGann and Earl

 15                     W. Edwards and prevent them from employment within the University of

 16                     California system and declare all the individual defendants as a danger to the

 17                     University of California students and community; and

 18             (vii)   Such other and further relief as the Court deems just and proper.

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  1                                      JURY TRIAL DEMAND

  2        Plaintiffs request a jury trial on all questions of fact raised by their Complaint.

  3 Dated: September 30, 2021
                                                  Respectfully Submitted,
  4
                                                  NESENOFF & MILTENBERG, LLP
  5
  6                                               By:/s/ Susan Stark
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